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IN THE UNITED sTATEs ols_'rlher_*_c`iotl_ar a j
FOR THE DISTRICT oF COLUMBIA § ‘;:;~; 1 3
“ ;~;11'" 13 553 51;5']
REGINALD LEAMON ROBINSON, - w
= 1 - 375 §:.;i xi »._:. iii
Plaintiff Pro Se

v. Case No. 1:18-cv-00518TMN

HOWARD UNIVERSITY, INC., et al., JURY DEMANDED

Defendants

 

PLA]NTIFF PRO SE’S RULE B(bl MOTION NUNC PRO TUNC TQ.ACCEPT _
LATE F]LING OF PLAINTIFF’S OPPOSITION MEMORANDUM A`.ND RU-`LE '_
56(d) MO'I'ION TO DEFENDANTS’ M()TION TO I)ISMISS OR fN. THE"

ALTE`RNATIVE SUMMARY .]UDGMENT ` _ ll

_ I.."

 

 

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On June 28, 2018, plaintiff filed his First Amended Complaint.l In§i:;sponws'le, on,_
August 3, 2018, defendants filed a motion to dismiss or in the alternative summary
judgment. ECF No. 20. Receiving defendants’ motion by mail, plaintiff immediately
consulted not the Local Rules but the Federal Rules of Civil Procedures Rules 12 and 56,
and concluded that under Rule 56 he had 21 days to file an opposition memorandum
Plaintiff acknowledges that he filed his opposition memorandum and Rule 56(d) motion

and proposed order 4 days beyond the required time of August 20, 2018.2 However, he

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was excusably wrong. _ | _I
_ '- _1 `

 

' On July 03, 2013, this Court admonished plaintiff to make limer filings and to obey .:

orders of court or he might risk having his filing stricken Minute Order of Ju|y 3, 2018, Despite’ ,:.€-_"
what defendants will undoubtedly al'gue, Plaintifi" holds this Court in highest regards, and as -.A_:
plaintiff states and argues below he labored under a good faith but excusable deadline error after- .1 ;`-
reading Rule 56. Having concluded that he had 2| days lo file an opposition memorandum to;__,`_.l
defendants’ motion to dismiss or in the alternative summary judgmenl, plaintiff met that §
excusable misunderstanding filing his opposition memorandum along with a Rule 56(d) motion """"'“"‘"""'-“"
and a proposed order on August 24, 2018.

2 On June 27, 2018, when plaintiff arrived at the federal courthouse at 12:08am, he sent an

email to defendants asking if they would oppose his nunc pro tunc filing the following day. On

August 24, 2018, plaintiff did not seek consent from defendants because, although excusany

 

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On August 24, 2018, plaintiff filed his opposition memo, along with a Rule 56(d)
motion and a proposed order, seeking a delay on this Court’s ruling on defendants’
alternative motion for summary judgment Docket Entry 21 and 23. On September 11,
2018, plaintiff read defendants’ opposition memorandum to plaintiff’s opposition
memorandum of August 24, 2018, which he received by first-class mail. For the first
time, he realized that he had filed his opposition memo after the filing time, thus
requiring him to make a Rule 6(b)(1)(B) motion setting forth with particularity his
excusable neglect before this Court could accept his opposition memorandum and Rule
56(d) motion and proposed order. He does so now, seeking by Rule 6(b)(1)(B) nunc pro
tunc motion to move this Honorable Court to accept plaintiffs filings of August 24, 2018
as if they were timely filed on August 20, 2108.

Under Fed. R. Civ. Pro. 6(b), plaintiff in good faith and by excusable neglect

missed the deadline by four (4) days.3 In plaintist opposition memorandum, he had

 

wrong, he believed that he had filed his opposition memorandum along with the Rule 56(d)
motion and proposed order within the 21-day filing time. Under Local Rule 7(m), on September
12, 2018, plaintiff sent an email request to defendants not to oppose Rule 6(b)(1)(B) motion.
They rejected his request,
3 In defendants’ reply memorandum to plaintiffs opposition memorandum, defendants
have continued their assault on his person by accusing him of shenanigans (in one phone call,
they hinted that he was a fool for representing himself; now they’ve recast him as a wily, brilliant
litigator of the federal rules and procedures landscapes). Yet, it has been defendants who have
sought every conceivable safe harbor in the federal and local rules to avoid answering the
Original and First Amended Complaints, including initially attempting to play defendant keep-
away so that plaintiff could not properly serve defendants Defendants’ legal counsel did so, even
though plaintiff had already served them by Rule 4(d) waiver requests on March 7, 2018.

On March 7, 2018, plaintiff served defendants with a Rule 4(d) waiver request by first-
class certified mail. Once they received this request, defendants had 60 days from March 7, 2018
to answer plaintiff’s Original Complaint. Based on Rule 4(d), defendants had to answer
plaintiffs complaint by May 5, 2018. However, alter not receiving a response from defendants,
plaintiff asked a disinterested adult male to serve defendants’ legal counsel at Ballard Spahr, LLP,
in Baltimore on March 30, 2018. Such personal service meant that they would only have 21 days
to file an answer. At that point, defendants’ legal counsel made an ECF filing, notifying the
Court that they were accepting Rule 4(d) waiver request as of March 30, 2018. Defendants’ legal
counsel deliberately misled this Court, and in subsequent ECF filings, defendants’ legal counsel
deliberately used the March 30, 2018 date, one consequences of which was that rather than
having to file an answer by May 5, 2018, defendants now had until May 29, 2018. On June 28,
2018, plaintiff brought defendants’ chicane to light in his motion to correct the record, which this
Court mooted on other grounds. Plaintiff has always been honest with the Court, Thus, what

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incorporated by reference his First Amended Complaint and its pleadings. By
incorporating . . . Due to his Rule 56(d) motion,4 plaintiff did not responded to
defendants’ motion for summary judgment, and thus despite Local Rule 7(b), plaintiff
does not concede to defendants’ summary judgment claims.
Plaintiff pro se, Reginald Leamon Robinson, by and through himself, and per
Rule 6(b)(1)(B), moves this Honorable Court nunc pro tunc to treat his April 24, 2018
filing and his Rule 56(d) motion and proposed order (attached hereto and unaltered) as if
this Court had properly received them on August 20, 2018.
DISCUSSION
a. Background
On June 28, 2018, plaintiff pro se filed his First Amended Complaint. In that
complaint, plaintiff gave sufficient notice to defendants that based on December 4, 2015
complaints by two upper-level female law students, who made not even veiled allegations

of sexual harassment against plaintiff, 5 defendants nevertheless had contorted

 

defendants’ call plaintiff’s shenanigans were not wily gambits but simply his ignorance,
inexperience, and general lived circumstances

Moreover, whenever defendants or this Court has pointed out plaintiffs errors or

oversights, he as in this instance moves quickly to fix them so that he could continue to prosecute
his claims against defendants.
4 Plaintiff did not directly response to defendants’ motion in the alternative for summary
judgment because he is entitled to proper discovery, and because he had submitted with the
Opposition Memo a Rule 56(d) motion to delay the Court’s ruling on defendants’ summary
judgment motion, Patricia Gavin v. Department of the Az'r Force, 314 F.Supp.3d 297, 307 (DDC
2018) (“In any event, “summary judgment is premature unless all parties have ‘had a full
opportunity to conduct discovery.”’ Convertino v. DOJ, 684 F.3d 93, 99 (D.C. Cir. 2012)
(quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 257 (1986). Given that discovery has not
yet closed, this motion will be denied without prejudice to either party’s ability to file summary
judgment motions at the appropriate time.”)). See Fed. R. Civ. Pro. 56(c).

In their reply to plaintiffs opposition motion, defendants argue that they do not have to
use the federal government and/or court’s definition of sexual harassment Defendants’ Reply
Memorandum to Plaintiff" s Opposition, ECF 24, at 3 [check]. As such, defendants simply do not
have to make findings of material facts on the factual and/or legal predicates of sexual
harassment, e.g., unwelcomed Sexual advances, even though their Policy defines sexual
harassment by using such language, and even though its Title IX Policy required Smiley to make
findings of material facts. Howard’s Title IX Policy, § V. C. (10), at 14. Rather, defendant
Howard wishes to make up its own arbitrary definition of sexual harassment, and which would

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fraudulently those complaints, which were not pursuant to Title IX, into formal
complaints under its Policy. Plaintiff gave sufficient notice to defendants that in applying
its Policy’s processes and procedures, Howard and officers, agents, and/or employees
acted in bad faith, thus violating the implied duty of good faith and fair dealings, which
applies to all contracts in the District of Columbia. Plaintiff sufficiently noticed
defendants that in finding that sufficient evidence existed to sustain allegations of sexual
harassment, even through substantial evidence was lacking, even though defendants did
not making the required findings of material facts, and even though defendants thus had
not met their burden of proof, defendant Howard had not only breached its employment
contract with plaintiff as understood through the 1993 Facully Handbook, but also
engaged in sex-based discrimination in violation of Titles VII and IX. Lastly, plaintiff
made sufficient pleadings on other related common law claims like negligence.

In their motions, declarations, and affidavits defendant Howard and its officers,
agents, and/or employees in the Title IX Office: (l) have never denied relying on the
subjective experience test, which turns on believe the victim, and which is unduly
prejudicial, to determine conclusively whether accused males like plaintiff have violated

its Policy; (2) have never proffered any reason or justification for fraudulently contorting

 

permit Howard to violate the 1993 Faculty Handbook definition of sexual harassment and to
destroy plaintiffs reasonable contractual expectations that Howard would follow its own
published rules and procedures Furthermore, in their reply to plaintiffs opposition
memorandum, defendants imply that even if OCR and federal regulations impose the by the
preponderance of the evidence burden on them, defendant Howard and its officers, agents, and/or
employees do not have to meet that burden where they just wish to say that if the two female
students had a subjective experience of sexual harassment (which they did not state), which was
compounded by their total rejection of an accused male’s academic freedom and freedom of
expression as exemplifies by his academic writings and depilatory hypothetical, then Howard’s
arbitrary findings that support the two female students’ subjective experiences against an accused
male ought to be enough for this Court. [cite] At bottom, throughout defendants’ many motions
to dismiss, defendants have essentially stated that this Court, the federal courts, has no business
telling Howard and its officers, agents, and/or employee not only how to define sexual
harassment, but also how to adjudicate such allegations, even when the allegations were not made
pursuant to its own Title IX Policy. [citation]

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the two female students’ complaints, which were not pursuant to Title IX, into a formal
complaint under its Policy against plaintiff; (3) have not adduced to this Court a true,
correct, and complete copy/transcript of the interviews that Smiley conducted during her
504-day investigation and that undergird the Notice of Findings and its Rationale;6 (4)
have not proffered any independent, objective basis for finding that sufficient evidence
existed to sustain the allegation of sexual harassment against plaintiff; (5) have never
justified why in the absence of substantial evidence to support the contorted complaint
against plaintiff, Smiley (and Howard) inexcusably and exclusively relied on character
evidence or traits, which were at most 22 years old, and which by necessity are less
probative and more prejudicial; (6) have conceded that Howard’s officers, agents, and/or
employees were destructive, incompetent, and negligent; (7) have never explained,
except for naked assertions, why on May 4, 2017 in the absence of findings of material
facts and substantial evidence did they issued copies of the Notice of Findings and
Disciplinary Sanctions to the two upper-class female law students; (8) have never denied
that on July 12, 2017 in the presence of Mr. G.T. Hunt _ plaintiffs then-legal counsel,
Provost Wutoh, the Title IX Decisional Authority, and second highest ranking officer at
Howard University, acknowledged that plaintiff had not violated its Policy; and (9) have
never responded to the preliminary findings of the Faculty Grievance Commission that
Provost Wutoh’s Notice of Findings had violated plaintiffs reasonable contractual
expectations under 1993 Facully Handbook when he issued at the very least an arbitrary

and capricious finding against plaintiff.

 

6 To determine the degree to which defendant Smiley held an anti-male bias, plaintiff

would need to discover and to gain access to the unredacted interview tapes and to the unedited,
complete transcript of those taped interviews, which are exclusively in defendant Howard’s
possession and control.

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Given the foregoing, this Court should grant plaintiff nunc pro tunc motion under
Rule 6(b)(1)(B) for two reasons First, plaintiffs claims, as set forth in his Original
Complaint and his First Amended Complaint, especially when the Court considers the
total equitable circumstances of this matter, are not “patently insubstantial,” “essentially

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fictitious sufficiently fantastic to defy reality as we know it,” and/or “so attenuated and
insubstantial as to absolutely devoid of merit.” See Curran v. Holder, _ F.Supp.3d 30,
32 (DDC 2009), citing Carone-Fera'inand v. Central Intelligence Agency, 131 F.Supp.2d
232, 234 (D.D.C. 2001) (denying federal question jurisdiction where claim was “patently
insubstantial.”).

Second, and most vitally, the Pioneer four-factor test equitably favors plaintiff
Defendants will not be prejudiced if this Court upon Rule 6(b) motion accepts plaintiffs
opposition motion along with his Rule 56(d) motion and proposed order. Plaintiff filed
his opposition motion four days late, and given that this case is still in the pretrial stage,
and given that this Court had not ruled substantively on any matter, plaintiffs four-day
late filing will impact the judicial proceedings Moreover, attempting to comply with the
federal procedure, he read Rule 56 and in good faith but wrongly concluded that he had
21 days to file his opposition memorandum. Plaintiff filed his opposing memo August
24, 2018_the 21st day. Lastly, plaintiff has acted in good faith. On September 11, 2018,
plaintiff read defendants’ reply to his opposition motion, and realizing that he had filed
his opposing memo after the filing deadline and without having also filed a Rule
6(b)(1)(B) motion, he has drafted this present memo to correct his good faith, excusable

neglect.

b. Rule 6(b)

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Rule 6(b) Extending Time.

(1) In General. When an act may or must be done within a
specified time, the court may, for good cause, extend the time:

(A) with or without motion or notice if the court acts, or if request
is made, before the original time or its extension expires; or

(B) on motion made after the time has expired if the party failed to
act because of excusable neglect.

Fed. R. Civ. Pro. 6(b).
c. What is Excusable Neglect?

“Excusable Neglect” has an ordinary meaning, including some degree of
“inattentiveness” or “carelessness.” See Pioneer Inv. Services C0. v. Brunswick
Associates Ltd. Partnership, 507 U.S. 380, 388 (1993) (“the Rule grants a reprieve to out-
of-time filings that were delayed by ‘neglect.’ The ordinary meaning of ‘neglect’ is ‘to
give little attention or respect’ to a matter, or, closer to the point for our purposes, to
leave undone or unattended to esp[ecially] through carelessness.”’). The D.C. Circuit has
applied the Pioneer factors In re Vitamins Antitrust Class Action, 327 F.3d 1207, 1209
(D.C. Cir. 2003) (citing Pioneer, 507 U.S. at 395). In this way, Congress empowered
federal courts to accept, where appropriate, “late filings caused by inadvertence, mistake,
or carelessness, as Well as by intervening circumstances beyond the party’s control.”
Pioneer, 507 U.S. at 388.

Based on Pioneer’s Court read, Congress viewed Rule 6(b) and its concept of
“excusable neglec ” to included inadvertent delays, even though inadvertence, ignorance
of the rules, or mistakes construing rules do not usually “constitute ‘excusable’ neglect.”
Id. at 388 (italics added). Nevertheless, the Pioneer Court, in teasing out Congress’
intent, stated, “it is clear that ‘excusable neglect’ under Rule 6(b) is a somewhat ‘elastic

concept’ and is not limited strictly to omissions caused by circumstances beyond the

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control of the movant.” Ia'. The Pioneer Court acknowledged that in applying Rule 6(b),
the “Courts of Appeals have generally recognized that ‘excusable neglect’ may extended
to inadvertent delays.” Ia'. at 391.

d. Excusable Neglect_An Ordinary Meaning.

Courts, in their broad discretion, can grant or deny Rule 6(b)(1)(B) motions
[citation] In considering such motions, the moving party, in compliance with Local Rule
7h, must make a formal application in which the movant acknowledges that the filing
subject to the motion was filed after the expiration of the time permitted The Court may
accept the movant’s opposition memorandum to a motion to dismiss only on a motion
that “demonstrate[s] that the delay was the result of excusable neglect.” Casanova v.
Marathon Corp., 499 F.Supp.2d 32, 34 (D.D.C. 2007). Accordingly, under Rule
6(b)(1)(B), it would be insufficient for a movant to merely assert excusable neglect that is
unsupported by facts Id. Based on the ordinary meaning as applied to the Pioneer’s four
factors, Plaintiff states with particularity why his late filing was excusable neglect

e. Four Factors of Excusable Neglect.

The Supreme Court has set forth four factors when the courts are determining
“when a late filing may constitute ‘excusable neglect.”’ Pioneer, 507 U.S. at 395. These
factors include: “(1) the danger of prejudice to the [opposing party], (2) the length of
delay and its potential impact on judicial proceedings, (3) the reason for the delay,
including whether it was within the reasonable control of the movant, and (4) whether the
movant acted in good fai .” In re Vitamins Antitrust Class Action, 327 F.3d 1207,1209

(D.C. Cir. 2003) (citing Pioneer, 507 U.S. at 395).

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Ultimately, the Court, in determining whether a movant’s neglect is excusable,
must focus on equity, “taking account of all relevant circumstances surrounding the
party’s omission.” Pioneer, 507 U.S. at 395. On equitable grounds, Pioneer’s four
factors favor plaintiff
1. No Danger of Prejudice to Defendants.

Although defendants will oppose plaintiffs motion under Rule 6(b)(1)(B), they
would not be prejudiced if the plaintiffs opposition memorandum along with his Rule
56(d) motion and proposed order were to be accepted by this Court. First, in his
opposition memorandum, plaintiff incorporated by reference his First Amended
Complaint. In opposing defendants’ motion to dismiss, plaintiff sought to focus factually
and to argue analytically and critically why his claims in the First Amended Complaint
were pled with legally sufficiency so that defendants would have actual notice. Second,
in his opposition memorandum, plaintiff placed in sharp relief the pleading of his First
Amended Complaint, so that this Court, in granting every benefit on pleadings to the non-
moving party, would have a sufficient basis for denying defendants’ motion to dismiss
Moreover, since plaintiff first filed his Original Complaint, he has made generally the
same pleadings On June 28, 2018, plaintiff added Counts for Title IX, the factual bases
of which were already set forth in plaintiffs Original Complaint. In addition, defendants
are not entitled to summary judgment before both parties have had an opportunity to take
depositions and undertake discover. See Fed. R. Civ. Pro. 56(c). In this way, if this
Court, in determining that plaintiffs late filing of his opposition memorandum
demonstrated excusable neglect, accepted his late filing and Rule 56(d) motion,

defendants will not be prejudiced.

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2. No Potential Impact on Judicial Proceedings.

Plaintiff filed his opposition memorandum along with his Rule 56(d) motion and
proposed order four days late. This case is in its pre-trail stage. The Court has not made
any final rulings or has ruled on a matter pending before it. Even if a moving party
Waited two weeks after the filing deadline, courts have ruled that the length of delay had
no impact on the judicial proceedings See, e.g., Cryer v. InterSolutions, Inc., No. 06-cv-
2032, 2007 WL 1191928, at *6 (D.D.C. April 20, 2007) (length of delay was not great
where motion for extension of time to file for class certification was filed 22 days after
deadline).

On this factor of potential impact on judicial proceedings, the court should place
great weight to the underlying equities, taking into account all relevant circumstances
See Government Services Corp. v. United States, 130 Fed.Cl. 795, 797 (Court of Claims
2017). In Government Services Corp., plaintiff and defendant had filed motions for
summary judgment and cross-motion for summary judgment The Government filed two
responses to plaintiffs motion and cross motion for summary judgment On February
23, 2017, the court informed plaintiff and defendant that it had drafted an opinion based
on the parties’ outstanding cross-motion for summary judgment However, plaintiff had
failed to answer the Government’s December 10, 2015 counterclaim, and pursuant to
Rule 6(b)(1)(B), plaintiff had failed to seek leave of court to file an answer out of time,
The court advised plaintiff that “if it intended to file a motion to file an answer out of
time, it must do so by February 23, 2017.” Id.

In Government Services Corp., the court based its ruling in favor of plaintiff on

the following premise: equity weighs in heavily in support of allowing plaintiffs motion,

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even though under Rule 8(b)(6), plaintiffs failure to response to defendant’s
counterclaims constituted admissions otherwise entitling the Government to summary
judgment The court refused to grant the Government’s entitlement citing an appellate
court decision that held: “a trial on the merits is favored over default judgment,” and that
“judgment by default is a drastic step which should be resorted to only in the most
extreme cases.” Id. at 798, citing Information Systems & Networks Corp. v. United States,
994 F.2d 792, 797 (D.C. Cir. 1993) (plaintiff had “‘diligently pursued’ this action in
every regard, other than its failure to file an answer.”).

Although plaintiffs delay was lengthy_nearly a year had passed since the filing
deadline, the court stated that plaintiff had already contested the merits of the
Government’s counterclaims However, plaintiff had not done so in pleadings The court
ruled that plaintiff could file an answer out of time. In light of Government Services
Corp., plaintiffs four-day delay does not satisfy the “extreme” standard in Information
Systems & Networks Corp., and thus this Court should rule that this factor favors
plaintiff

3. Reason for the delay, including whether it was within the reasonable control
of the movant

Under this factor, this Court, given its rather broad discretion and its equitable
powers, can apply the “excusable neglect” test knong that as Pioneer noted it has great
elasticity. As stated in Pioneer, “[a]lthough inadvertence, ignorance of the rules, or
mistakes construing the rules do not usually constitute ‘excusable’ neglect it is clear that
‘excusable neglect’ under Rule 6(b) is a somewhat ‘elastic concept’ and is not limited
strictly to omissions caused by circumstances beyond the control of the movant.”

Pioneer, 507 U.S. at 392. “Excusable neglect” thus becomes “an equitable concept that

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must take account of all relevant circumstances of the party’s failure to act within the
required time.” CHARLES ALAN WRIGHT & ARTHUR R. MILLER, FEDERAL PRACTICE AND
PROCEDURE § 1165 (updated Sept. 2018).

Upon receiving defendants’ motion to dismiss or in the alternative summary
judgment plaintiff had an emotional and academic reflex: read the Federal Rules of Civil
Procedure. Under Rule 56, plaintiff concluded that he had 21 days to file his opposition
memorandum, In plaintiffs opposition memo, he noted that “Plaintiff pro se did not
receive notice by from this Honorable Court that Defendants had filed their motions and
that Plaintiff pro se needed to file an answer or response by August 24, 2018 or 21 days
after Defendants filed their motions to dismiss or in the alternative for summary
judgment.” Plaintiff s Opposition Memorandum, Docket No. 22, at 10 n.1. It is clear
that plaintiff was laboring under a good faith error that on equity grounds should
constitute excusable neglect

Although he is an adept legal academic, plaintiff pro se is not a litigator. During
his legal practice years, he never practiced in federal court at the trial and appellate
levels In his 24 years at Howard, he has taught Real Property; Contracts; Housing
Discrimination; Law, Cultural, and Art (Film); Legal Philosophy/Jurisprudence; Family
Law; Children and the Law; Law and Social Science; Gender, Identity, and Separation
Violence; Agency, Partnerships, and LLC; Business Organizations; and Race, Class,
Gender, Sexual Orientation, and Property in Legal History.

Plaintiffs scholarly publications do not require him to student federal rule and
procedures Instead, plaintiffs legal scholarship principally focuses on_: race, culture,

communication, Real Property, critical theory, postmodernism, legal interpretation,

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Family Law, Child Welfare Law, interpersonal neurobiology, neurobiology of
attachment law, childhood trauma, Law and Literature, Critical Race Theory, existential
psychology, social psychology, and public policy.

As a lawyer and law professor, plaintiff is not the typical pro se litigant
Generally, a plaintiff pro se who is also an attorney would not automatically be entitled to
the liberal standards that this Court would apply to pro se non-attorneys Richara' v. Duke
Universily, 480 F.Supp.2d 222, 234-235 (D.D.C 2007). Even so, plaintiff does not have
the emotional and professional reflex of an experience federal trial or appellate attorney.
Nevertheless, he has every good faith effort to comply with the Federal Rules of Civil
Procedure and the Local Rules.7 From the very beginning, in the filing of his federal
complaint, plaintiff has been proceeding without legal counsel, who would be quite
familiar with the Local Rules8 Estelle v. Gamble, 429 U.S. 97, 106, 97 S.Ct. 285 (1976).
Plaintiff pro se is a lawyer. He is a law professor. He knows the legal system. He may
need less protection Yet, despite his efforts to prosecute this matter and despite his good
faith efforts, plaintiff pro se makes errors as if he were a pro se non-attorney. This

Court’s minute orders were instances of liberal standards

 

7 For example, it was most instructive to plaintiff pro se when the Court would issue

Minute Orders when either plaintiff or defendants filed documents that required either of them to
respond. In so doing, this Court was not advocating for plaintiff or defendants, but such Minute
Orders decreased the likelihood that plaintiff would spend inordinate amounts of time figuring
out what to do and more time understanding what he needed to know and do.

8 For example, on April 2, 2018, in Mr. McCormack’s Entry of Appearance, he had to
certify by averment that as an officer of the District Court of the District of Columbia, he was
“familiar with the Federal Rules of Civil Procedure, the Federal Rules of Evidence, the Federal
Rules of Appellate Procedure and the Local Rules of this Court.” ECF No. 3.

Unlike Mr. McCormack who is a skilled, experienced litigator and appellate attorney who
has an emotional and professional reflex to read the Federal Rules of Civil Procedures and the
Local Rules, plaintiff has an emotional and academic reflex to read the Federal Rules of Civil
Procedures He read Rule 56, and concluded that he had 21 days to file an opposition memo.
And he did make that filing deadline! Accordingly, plaintiff took objective steps to prosecute his
claims, but they were excusany negligent

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Equally important plaintiff, upon learning that he had filed his opposition
memorandum beyond the filing time, he took prompt action to correct the late filing by
first contacting the defendants’ legal counsel, seeking consent to file the Rule 6(b)(1)(B)
motion unopposed. Defendants rejected plaintiffs sought after consent Second, again
taking prompt action, plaintiff began to draft this Rule 6(b)(1)(B) motion, Third, plaintiff
wrongly but in good faith believed that he had filed his opposition memorandum as
required under Rule 56.

Nevertheless, it is clear that plaintiff filed his opposition memorandum beyond the
filed date. Although fault is “perhaps the most important single factor” under the Pioneer
factors (Webster v. Pacesetter, lnc., 270 F. Supp.2d 9, 14 (D.D.C. 2003), this Court
should apply the “excusable neglect” factor as equitable require. In this instance,
plaintiff pro se was not fault for consulting only Rule 56. Nevertheless, despite this
wrong but excusable neglect he complied in good faith with the 21-day filing
requirement See, e.g., Leviton Mfg. Co., Inc. v. Reeve, 942 F.Supp.2d 244 (E.D. N.Y.
2013) (court extended time for shareholders to file answers based on shareholders’
attorney stating that she was dealing with her 99-year old parent and her own illness);
Evsero]j”v. IRS, 190 F.R.D. 307 (E.D. N.Y. 1999) (court granted IRS attorney’s motion
for extension of time to answer complaint where in the motion he explained that the IRS
failed to provide him with its administrative case file in time to submit an answer);
Blanaj‘ora' v. Broome Counly Government 193 F.R.D. 65 (N.D. N.Y. 2000) (court
granting enlarged time to file answer based on excusable neglect even though defendants
moved for enlargement of time one week after notified that time to file answer had

expired.) .

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Given that Pioneer treated “excusable neglect” as an equitable concept given that
plaintiff upon reading defendants’ reply memorandum to his opposition memorandum on
September 112, 2018, and given that plaintiff wrongfully but in good faith believed that
he had 21 days to file his opposition memorandum and he filed his opposition
memorandum on August 24, 2018, this Court should find that plaintiffs neglect was
excusable,9 especially where plaintiffs Rule 6(b)(1)(B) motion was not triggered by a
show cause order from this Court,

4. Plaintiff Acted in Good Faith.

Given the foregoing facts, plaintiff acted in good faith even though he Was
excusable neglectful.

CONCLUSION

For the foregoing reasons, plaintiff requests that this Court grant plaintiff the
relief sought under the Rule (6)(1)(B) nunc pro tunc motion and accept his late filing on
August 24, 2018 as if it were filed timely on August 20, 2018.

Reginald Leamon Robinson,
Plaintiff Pro Se

 
    
  

 

  

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9 See Pioneer, 507 U.S. at 395, n. 14 (“The only reliable means of eliminating the

“indeterminacy” the dissent finds so troubling Would be to adopt a bright-line rule of the sort
embraced by some Courts of Appeals, erecting a rigid barrier against late filings attributable in
any degree to the movant’s negligence. As we have suggested, however, such a construction is
irreconcilable with our cases assigning a more flexible meaning to “excusable neglect.” Faced
with a choice between our own precedent and Black's Law Dictionary, we adhere to the
former.”).

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C_ERTIEICATE OF SERVICE
I hereby certify that a true and correct copy of the foregoing Plaintiff Pro Se’s Rule
6(b)(1)(B) nunc pro tunc motion was served by first-class mail, postage prepaid, on the
14 day of September, 2018, upon:

Tirnothy F. McCormack, Partner
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300 East Lombard Street

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f

.._, \ \/
Reg` lt eamon Robinson
Plaint' ` o Se
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Silver Spring, MD 20906-5826
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REGlNALD LEAMON RoBleoN, PRo SE
- -` `~' 1»' Plainrirr,

-- against --- No. l:18-cv-00518-TNM_ ` ?

JURY rs DEMA§NDED
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HoWARD UNIVERSITY, INC., ET AL.; j , “
~' 'i 1
11

Defendants. i_' '*.'
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PLAINTIFF’S MOTlON TO DELAY RESPONSE TO DEFENDANTS’ MOTION
_'I`O SUMMARY JUDGMENI

Plaintiff Reginald Leamon Robinson (hereinafter “Plaintiff’), by and through
himself, hereby respectfully files a motion under Rule 56(d) to delay the Defendants’
motion for summary judgment until 30 days after the close of discovery.

Plaintiff s reasons for this motion are as follows:

  

1. No depositions have been taken. i_;‘°' ""'
2. No documents have been produced. 1 ;_ w#i€ z
3. Plaintiff is entitled to discovery to support his claims 1 l- __ :|
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L__l

 

 

Tele: 240-876-7439 (c)
Email: hern.hermes(_§l)grnail.com

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UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

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Plaintiff,
-- against --- No. 1 :18-cv-00518-TNM
JURY IS DEMANDED
HowARD UNIVERSITY, INC., ET AL.;
Defendants.
................................................... x
PROPOSED ORDER

Upon consideration of Plaintiff s motion to delay a ruling on Defendants’ Motion
for Surnmary Judgment under Rule 56(d) until 30 days after the close of discovery, it is

HEREBY ORDERED that Plaintiffs motion is delay response to and ruling on
Defendants’ motion for summary judgment is GRANTED.

SO ORDERED.

Date: _ day of August 2018

 

THOMAS N. MCFADDEN
United States District Court

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CERTIFICATE OF SERVICE

/
I hereby certify that on?g August 2018, I cause the foreg ' g docun it to be served
on all counsel via first class mail postage paid.

      

  

"~--"` _ /

fRe nald Leamon Robinson, Pro Se Plaintiff
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Silv r Spring, MD 20906-5826

Tel: 240-876-7439

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UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

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Plaintiff,
-- against --- No. 1:18-cv-00518-TNM
JURY IS DEMANDED
HowARD UNIVERSITY, INC., ET AL.;
Defendants.
................................................... X

PLAINTIF_F’MQTIO§S_ lN OPPOSITION TO DEFE_NDANTS’ MOTIONS TO
DISMISS AND/OR SUMMARY JUDGMENT TO PLAINTIFF’S FIRST
AM_ ENDERCO_MRLAI_NT_`

Plaintiff Reginald Leamon Robinson (hereinafter “Plaintiff’), by and through
himself, hereby respectfully opposes the motion of defendants to dismiss or in the
alternative for Summary judgment Plaintiff incorporates the pleadings contained in his
First Amended Complaint by reference, as if Set forth herein. Docket No. 13.

However, on this day, Plaintiff also files a motion under Rule 56(d) to delay the
Defendants’ motion for summary judgment until 30 days after the close of discovery.

WHEREFORE, Plaintiff respectfully requests the following relief:

A. That Defendants’ Motion to Dismiss be dismissed with prejudice; or, in
the alternative,

B. That Defendants’ Motion for Summary Judgment be denied with prejudice
as they are not entitled to judgments as a matter of law; and

C. That Plaintiff be granted such other and further relief as set forth in his

First Amended Complaint and as is just and equitable.

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Date: August 24, 2018
amamosnobinson, Pro se Plaintiff

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UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

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Plaintiff,
-- against --- No. 1 :18-cv-00518-TNM
JURY IS DEMANDED
HOWARD UNIVERSITY, INC., ET AL.;
Defendants.
................................................... X

l_"'_LAINTIFF’S MOTIONS IN OPYSITION TO DEFENDANTS’ MOTIONS TO
DISMISS AND/O_I§ SUMMARY JL]DQMEN'I L) P_L_AlN'_I`IF_F’S FI__IM
AMENDED COMPLAINT

 

I. _IN'I_`I_{OMCTION

On May 4, 2017, Howard University breached its employment contract with
Plaintiff when in a Notice of Findings (“Notice”), it found that sufficient evidence existed
to sustain a finding that Plaintiff had engaged in sexual harassment Howard’s is devoid
of any pretense of substantial evidence. Without such evidence, Howard proffers no
legal sufficiency that Plaintiffs conduct on September 17, 2015 satisfies the factual or
legal predicates of sexual harassment Instead, the Report of lnvestigation (“Report”) and
its Rationale, from which the Notice draws its institutional force and legal authority,
made no findings of material facts or conclusions of law. In fact the Report and its
Rationale present no structured, logical, and/or legal analyses to buttress its unsustained
and unsupported conclusion. Upon a fair reading of the Report and its Rationale, this
Court will find statements conclusions, and assertions but no cogent legal analyses on

why the Notice declares that such evidence exists to sustain a finding against Plaintiff.

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On December 4, 2015, after Plaintiff had given his students a quiz, i.e.,
Knowledge Demonstration Opportunity (“KDO”), two female law students filed a
complaint against Plaintiff`. They did not allege that Plaintiff had made unwelcomed
sexual advances, requested sexual favors and engaged in words or conduct of a sexual
nature. Moreover, they did not state that beyond distributing the KDO, beyond seeking
volunteers to engage in meaningful participation, beyond giving feedback on each of the
seven questions and beyond reinforcing the substantive legal material of Chapter 5,
Plaintiff engaged in specific or non-specific words and/or conduct related to sex,
sexuality, and words or conduct of a sexual nature.

Rather, on December 4, 2015, these two female law students primarily went to the
Title IX Office because they did not like Plaintiffs academic and scholarly writings
Angered and uncomfortable, they asserted that his Writings were against black women
and black mothers They declared that his ideas or beliefs were very disturbing. They
disliked what hearsay they heard about him. They refused to attend him office hours as
he was no different from a white Klansman who hated blacks They thought that
Plaintiffs writings and beliefs were anathema to Howard’s brand and purpose. They
rejected Plaintiffs casual professional personality, which Was too informal, intimate, and
uncomfortable. After reading his two peer-reviewed articles they projected their odious
and unexplained emotional feelings onto Plaintiff s Question 5, which tested § 261
through a depilatory hypothetical. Neither wanted to be in Plaintiffs class nor believed
that he ought to be at Howard. Or' at the very least these two female complainants
wanted a negative institutional response from Howard that would say that it was not okay

for Plaintiff to believe as he had Written, and to act informally and casually as he had.

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After Smiley applied the subjective experience test to their complaints that fell outside of
the Title IX Policy, that’s exactly what they got.

Fortunately, these two female law students never stated or intimated that Plaintiff
engaged in any actions or conduct that was legally sufficient to sustain a finding of sexual
harassment against him. Smiley’s Report and Rationale could make no findings of
material fact or conclusions of law. No such facts exist

On May 4, 2017, the Notice breached Plaintiff s employment contract and the
1993 Faculty Handbook and its implied duty of good faith and fair dealings That breach
occurred when Howard’s Notice constituted an action that affected Plaintiffs personnel
status or the terms and conditions of his employment which violated his reasonable
contractual expectation and/or entitlement of academic freedom, was unsupported by the
record (i.e., Report and Rationale) presented to support the action (i.e., arbitrary and
capricious), and/or failed to comply with established rules and procedures To take this
action, Howard violated its Title IX Policy (“Policy”) by engaging in subterfuge, evasion,
bad faith, and/or failure to cooperate in Plaintiff s efforts to garner actual notice of the
factual allegations against him. In so doing, Howard violated the implied duty of good
faith and fair dealings

Since May 4, 2017, Plaintiff has made every reasonable effort to redress
Howard’s arbitrary and capricious finding Plaintiff appealed to the Provost, but he
summarily dismissed his appeal after the Provost learned from Plaintiff that he would
send the Notice and related documents to an outside, disinterested third party, viz., FIRE.
Prior to seeking help from FIRE to end the sex discrimination that he faced, Plaintiff filed

a complaint with the AAUP. Plaintiff also filed a complaint with the ABA and the

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EEOC, and as a result ABA appeared to have warned the School of Law away from
enforcing the disciplinary action against Plaintiff. The EEOC issued Plaintiff a Right to
Sue Letter, which was also sent to Howard. On May 25, 2017, Plaintiff notified the Chair
of the Board of Trustees and President Frederick, who also serves on the Board, that he
had suffered an arbitrary and capricious finding under the Policy. Neither of them
responded to Plaintiff, nor took any affirmative steps to investigate or to engage in
corrective action, even though they were empowered to do so. Despite responsive letters
from AAUP and FIRE to the entire leadership at Howard, none of the University
officials officers and/or agents took any corrective action. Later, Plaintiff filed a timely
grievance with the Faculty Grievance Commission (“FGC”). Despite a preliminary
finding by the FGC that Plaintiffs complaint “warranted detail investigation” and that
Howard’s Notice was at the very least arbitrary and capricious which was later followed
by mandatory mediation under the 1993 Faculty Handbook, neither the Provost
especially nor Smiley took corrective actions At the mediation, which was not covered
by confidentiality or privilege, Provost acknowledged that Plaintiff had not violated the
Policy.

Finally, having recourse only to the federal courts Plaintiff filed this complaint on
February 24, 2018. Later, Plaintiff amended the complaint to add counts under Title IX
and to drop a defendant and to add Howard University. Since Plaintiff has filed his
Amended Complaint, Defendants have again filed a motion to dismiss or in the
alternative a motion for summary judgment In this original complaint and later in the
amended complaint, Plaintiff sufficiently alleges a plausible breach of contract and its

implied duty of good faith and fair dealings and violations of Title VII and Title IX. He

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sufficiently showed that Defendants’ Notice was arbitrary and capricious and that the
Disciplinary Actions were vague and unsupported. These actions by Howard breached
Plaintiffs employment contract and the 1993 Faculty Hanalbook’s contractual
expectations against arbitrary and capricious action. He sufficiently alleges that
Defendants’ application of its Policy procedures during the investigation violated the
implied duty of good faith and fair dealings Plaintiff has sufficiently alleged that based
on Defendant’s Report and its Rationale, Defendants applied the subjective experience
test (or believe the victim), which is anti-male and which implied on sex-based
discrimination in violation of Title Vll and Title IX. Plaintiff also sufficiently alleged
that common law claims to help this Court and Defendants to determine whether the
factual allegations in Plaintiffs complaint set forth cognizable claims for which relief
may be granted. Plaintiff has alleged sufficiently that he has suffered emotional,
physical, and professional harm. Plaintiff s alleged facts also sufficiently state a claim
under the District of Columbia for negligence and related claims

Today, Plaintiff opposes these motions and files his cross-motion for partial
summary judgmentl

FACTUAL BACKGROUND
A. IG)OS and Question 5.
In fall 2015, Plaintiff taught an upper-level class entitled “Agency, Partners, and

Other Unincorporated Business Associations” (“Agency”) (SOF, 11 24), and on

 

l Defendants did not notify Plaintiff that they had filed their motions with this Honorable
Court on August 3, 2018. Plaintiff pro se did not receive notice by mail from this Honorable
Court that Defendants had filed their motions and that Plaintiff pro se needed to file an answer or
response by August 24, 2018 or 21 days after Defendants filed their motion to dismiss or in the
alternative for summary judgment As a result Plaintiff did not retrieve the hard copy from his
mailbox until August 9, 2018, which gave Plaintiff pro se only 15 days to draft a response to
these motions

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September 17, 2015, he gave his 34 students a quiz, viz., Knowledge Demonstration
Opportunity (“KDO”), in which one (“Question 5” or “QS”) of the seven questions dealt
with tortious touching and § 261 of RESTATEMENT (SECoND) AGENCY (1958). Q5 was a
depilatory hypothetical, in which a customer (T) alleged that the agent (A) tortiously
touched T during the services after awaking nom a light sleep. Eventually, T sued the
owner (P) of the spa under § 261, which focuses on whether A who was held out by P
had engaged in any fraudulent misrepresentations so that A could induce T who was
unaware that A may be acting outside of the scope of A’s employment and so that A
could tortiously harm T (SOF, 11 29). Given that Plaintiff was testing § 261, the students
had to focus on whether A engaged in fraudulent misrepresentations to induce T to act to
T’s legal detriment

Question 5 deviated slightly from the substantive materials that the students had
read in Chapter 5, and Plaintiff only drafted Q5 after he read the annotated sections of §
261 and after he researched depilatory services like full or partial Brazilian waxes. To
answer Question 5 properly, the students would have to know the elements of § 261.
They need not resort to personal experiences During the feedback, Which immediately
followed the completion of KD05 (Chapter 5), a female student who volunteered
challenged the black box logic of Q5 by asserting that “T would not sleep.” (SOF, 11 31)
Plaintiff halted the feedback, and issued the following caveat: Don’t challenge the hypo
based on what you know or believe you know. After issuing this caveat no student
female or male, challenged the hypo on this ground; they limited their responses and
analyses to choices (A) through (D).

B. Non-Sexual Harassment and Gender Discrimination Complaint by
Two Female Law Students.

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1. Complainant 1 (“Cl”).

On December 4, 2015, two female upper-level students from in the Agency class
filed a complaint with Smiley, Deputy Title IX Coordinator. Based on the Interview
Report prepared by Love, Title IX Coordinator, Complainant l (“Cl”) and Complainant
2 (“C2”) did not allege any sexual harassment claims against Plaintiff. Nevertheless,
Love states that “two students reported an allege case of sexual harassment, and gender
discrimination to the Title IX Office.” Defendants’ Motion to Dismiss or in the
alternative for Summary Judgment, Ex. l, Love’s Interview Report,2 n.d., at l.

Complainant l made the following statement In discussing why she came to the
Title Office, Cl stated: “So I am here because of Professor Reginald Robinson. Um, my
issues stem from the way that he interacts with our class and the Way that he interacts
with students.” Ia'. That was Cl’s primary reason. Then Cl tied that primary reason to
Plaintiffs published scholarship. Cl stated: “I had these issues prior to discovering a
number of articles that he had written.” Id. Cl did not state what she meant by “interact.”
Cl acknowledged that Plaintiff had “First Amendment protection.” Cl understood that
Plaintiff had a “right to think whatever he wants.” “But to me,” Cl said, “and every
female that l sent these articles to” concluded that Plaintiffs “articles advocate

misogyny.” Id. at 1-2.

 

2 Love’s Interview Report, n.d., is not a true and correct transcript of the interview with Cl

and C2. Rather, Love picks and chooses interview language that she perhaps hoped would
support a finding that Plaintiff engaged in sexual harassment However, as Plaintiff will argue,
Love’s Interview Reports failed to establish substantive or sufficient evidence that Plaintiff
engaged in sexual harassment, i.e., unwelcomed sexual advances, request for sexual favors, and
other words or conduct of a sexual nature. In fact, throughout Smiley’s Report of Investigation,
she does not define “sexual nature” at all.

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Complainant l goes further, focusing on two of Plaintiffs articles, both of which
focused on why gangsta rap artists impose vilifying lyrics on innocent black females Cl
continued: “To the extent that they don’t advocate misogyny they justify misogyny and
violence towards women. He uses vulgar and explicit language. Um it’s all very,
personally offensive to me.” Id. at 2. Cl who had attended William & Mary goes further:
“I, the best way I have felt where, if I had read, if l had found out at William and Mary
where I went for undergrad, that I was in class with a Klansmen.” Id. Cl states further:
“I think, that after reading these while they are disturbing, it’s disturbing to me that he
thinks these things. It’s more distributing [sic] that he is trying to work out his problems
With our class.” Ia'. As a result, Cl continued, “I don’t even go to his office hours
because I’m uncomfortable being in a room with him.” Id.

Cl continued, referring to Plaintiff’s belief “regarding black mothers as abusers to
their children.” Cl linked Plaintiff’ s published beliefs with how he interacts with the
Agency class. Cl states, “These beliefs, they matter, and they matter in the way that he’s
interacting with out [sic] class, and after having read the articles, all the things that he’s
done and said to the class make a lot more sense.” Id.

Despite the foregoing statements, Love described QS as Cl’s primary issue for
vague complaint about Plaintiff’ s conduct. Cl informed Q5 with a sex and gender read,
and then Cl ascribed that bias to Plaintiff Cl assigned her subjective feelings to the
entire class; however, 'Cl made no proffer to support that “KDO put the class in an
uncomfortable position.” Cl, after getting lured by a red herring, focused on whether T
could sleep through a depilatory Waxing service. Urged on by Smiley, Cl explained why

she thought QS was “inappropriate,” stating:

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First, of all, I think it’s inappropriate to have that sort of hypothetical
regarding the Brazilian wax was inappropriate (Investigator: I was
wondering). Yes! I think that’s inappropriate on its t`ace. but that apart
from that putting your class in a position where like now, a small part of
the class: women and an even smaller part of the class1 women who have
had Brazilian waxes. Now, feel like they have to defend their answer
choice based on their more intimate knowledge of Brazilian waxing, very
inappropriate.”

Id. at 2.

Cl disagreed With Plaintiff having any academic freedom and institutional
power to protect his intellectual capital, viz., KDO questions Cl complained that
Plaintiff prevent his students from taking KDOs out of the classroom, and from
having any access to them outside of the class. Id. After the interview of
September 12, 2016, Plaintiff sent an explanation to Smiley: (l) he uses KDO
questions on the fmal exam; (2) he announces that some small percentage of KDO
questions will be on the final exam; and (3) students have rampantly cheated by
copying them during and between classes

Cl linked QS to Plaintiff’s published ideas, both of which made her
uncomfortable. Both Cl and C2 had highlighted some sections of Plaintiff s two
peer-reviewed articles for Smiley, which they gave to her. Cl reported, “So that
makes me very uncomfortable.” Cl continued, “That in addition to, like ah, I
want to read these lyrics so that it will play on the recording but I don’t want to
read these lyrics because I don’t want these words to come out of my mouth, like
this So by all means the introductory paragraph, I have highlighted and [CZ] has
highlighted some really choice sections so that you can take a look at this.” Id. at
3.

Cl ’s complaint summed to three main points First, Plaintiff’s email

salutations (which Plaintiff sent to his colleagues, too) were “Dear loving

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students” and his sign off was “Peace, love and Namaste. Reggie.” Cl asserted
that, “I think that he is either intentionally or unintentionally establishing an
inappropriately intimate relationship with his class.” Id. Second, Cl recounted as
hearsay a story she had heard about Plaintiffs effort to teach proxy abuse by
parents through the retelling of a personal story. Cl was not registered for the
class Cl stated, “However, this level of personal intimate details about this
man’s life makes me very uncomfortable.” Id. Cl did not believe that Howard
Law School Was an inappropriate place to discuss such details Id. Smiley then
asked3 her for a “couple of specific examples of conversations or things he has
said in class that made her feel uncomfortable to the point where she didn’t want
to go to his office hours.” Id. Cl responded by stating, “That comment
(presumably the child welfare example), the way he addresses us in emails: ‘Dear
loving agency and partnership students,’ signed, ‘Love and namaste Reggie.”’ Id.
Cl further stated, “the fact that he uses his first name is overly familiar.” Id.
Third, Cl refocused Smiley on her primary reason for filing a complaint
with the Title IX Office - Plaintist published idea and the article’s language
Love linked Cl’s return to Plaintiff’s academic writings to Smiley seeking
examples of what Plaintiff said in class that kept Cl from attending his office
hours.4 Cl quoted sentences from the article’s first paragraph, and then she

stated, “This sets up a dichotomy to me, like, the only justifications he gives are

 

3 Smiley’s question does not appear logically related to the preceding material, suggesting

that Love arranged the narrative of Cl so that it appeared to tell a coherent story that would
support Cl’s view/feeling that “inappropriate” in this pedagogical context meant “sexual
harassment.”

4 Love wrote as a transition phrase to this part of the Cl ’s statement “In addition to the

examples cited above.”

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either that, it’s okay to feel, to have these violent aggressions toward women and
that if it’s okay, it’s a result of black mother’s [sic] abusing their children.” Id. at
3-4. After noting that Plaintiffs article first six footnotes described gangsta rap
lyrics that demean black women, Cl stated, “This is literature, like I don’t
understand how in an academic and intellectual environment I’m supposed to
look at the things that my professor has published and feel okay, being in his
class.” Id. at 4.

Finally, Cl, having not described anything about Plaintiff that constituted
sexual harassment and gender discrimination, returned to main reason why she
filed a complaint with the Title IX Office. “I did this (presumably report to the
Title IX office) because I was experiencing, I was having a really negative
experience with the professor.”5 Again, Cl failed to cite specific, actionable
behavior that would satisfy the factual or legal predicates for sexual harassment
because that’s not way she visited the Title IX Office.

2. Complainant 2 (“C2”).

C2 focused on Question 5 and Plaintiffs publications and she too failed
to describe any actions, words, or conduct that would make out a prima facie case
of sexual harassment Apart from telling Smiley how uncomfortable she felt, C2
confessed her central motivation for filing her complaint against Plaintiff. C2
stated, “You should see the crazy stuff that he has actually published’ looking at

it, and knowing that there is someone who represents the Howard name at all that

 

5 Cl did not say that she had a very difficult time with Plaintiff during KD05 and Question
5. Cl provided no time frame. But from her complaint/narrative, Cl draw heavily on Plaintiff"s
two peer-reviewed articles to assign meaning not only to Question 5 but also to animus toward
Plaintiffs casual professional personality and the notices in his syllabus which was designed to
prevent cheating and to create fairness for all students who would sit for his final exam.

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has put this kind of black woman hate um out into the public is disturbing for
me.” Id. at 5. Finally, C2 reveals that she seeks institutional retribution: “I really
feel like there should be at least some kind of action that students or [sic] able to
take to say that is inappropriate Ah, we’re not comfortable with this I’m not
comfortable reading this as a black woman.”
ARGUMENT

A court’s goal in reviewing a Rule 12(b)(6) motion is to “test whether the
complaint ‘state[s] a claim upon which relief can be granted.” Fed. R. Civ. P. 12(b)(b).
“To survive amotion to dismiss [under Rule 12(b)(6) ], a complaint must contain
sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its
face.”’ Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly,
550 U.S. 544, 570 (2007)). A complaint that faces a Rule 12(b)(6) motion to dismiss
need not allege detail facts Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007).
However, the plaintiff is obligated to provide “grounds” of plaintiffs “‘entitle[ment] to
relief,’ which ‘requires more than labels and conclusions.”’ Id. Mere “formulaic
recitation of the elements of a cause of action” will not suffice Id., citing Papasan v.
Allaz'n, 478 U.S. 265, 286, 106 S.Ct. 2932, 92 L.Ed.2d 209 (1986) (on motion to dismiss,
courts “are not bound to accept as true a legal conclusion couched as a factual
allegation”). “F actual allegations must be enough to raise a right to relief above the
speculative level.” Id., citing 5 C. WRIGHT & A. MILLER, FEDERAL PRACTICE AND
PROCEDURE § 1216, pp. 235-236 (3d ed. 2004).

Rather, a claim is facially plausible “when the plaintiff pleads factual content that

allows the court to draw [a] reasonable inference that the defendant is liable for the

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misconduct alleged. JCS Transmashholding v. Miller, 70 F.Supp.3d 516, 520-21(D.D.C.
2014) (citing Iqbal, 556 U.S. at 678, (citing Twombly 550 U.S. at 556.)). While the Court
must “assume [the] veracity” of any “well-pleaded factual allegations” in the complaint,
conclusory allegations “are not entitled to the assumption of truth.” Iqbal, 556 U.S. at
679.

I. COUNT I STATES A CLAIM FOR BREACH OF CONTRACT, AND
DEFENDANTS ARE NOT ENTITLED TO A JUDGMENT AS A MATTER OF
LAW.

To make out a breach of contract claim in the District of Columbia, Plaintiff must
allege that (l) a valid contract existed between the parties, (2) an obligation or duty
arising out of the contract, (3) a breach of that duty; and (4) damages caused by the
breach. Alemayehu v. Abere, ___ F.Supp.3d _, 2018 WL 2336106, at *4 (DDC 2018).

First, since July 1994, Plaintiff and Howard have had a bona fide employment
contract Second, that contract incorporates §§ 2 and 3 of the 1993 Faculty Handbook
and its implied duty of good faith and fair dealing. 1993 Faculty Handbook, § 2.1, at 2-
19. It is well established that, under District of Columbia law, “an employee handbook
such as the Howard University F acuity Handbook . . . is a contract enforceable by the
courts.” McConnell v. Howard Um`v., 818 F.2d 58, 62-63 (D.C.A. 1987). Courts have
found that 1993 Faculty Hana'book defines “the rights and obligations [of the employee
and employer].” Id. at 62. It serves “in large measure as the contract of employment for
Howard faculty.” Allworth v. Howard Univ., 890 A.2d at 199.

Third, Plaintiff has a reasonable contractual expectation of academic freedom and
the entitlement of free expression 1993 FACULTY HANDBOOK, § 2.2.4, at 2-22. Under

the 1993 Faculty Handbook, Howard by implication cannot take personnel action that is

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arbitrary and capricious (i.e., an act that is unsupported by record presented to support the
action taken), and/or that violates established rules and regulations and/or that involves
the faculty member’s personnel status and alters the terms and conditions of employment
Id., § 2.8.2. On May 4, 2017, Howard’s Notice of Finding and its Disciplinary Action
affected not only Plaintiffs contract right to academic freedom and entitlement to free
expression, but also his personnel status, the terms and conditions of employment That
Howard’s Notice was flawed, lacking the Policy’s required findings of material facts and
OCR’s required conclusions of law. Policy, V. C. (10), at 14; OCR, Q&A, Sept. 2017
(citing significant OCR Guidance of 2001 and 2014).

Howard’s Policy is subject to the strictures and reasonable contractual expectation
of the 1993 Faculty Handbook and its implied duty of good faith and fair dealing. For
example, the Trustees expressly excluded §§1, 4 through 7 from the Faculty Handbook
grievance procedures 1993 FACULTY HANDBOOK, § 2.1, at 2-19. Then, the Trustees
stated, “the informal or formal procedures described in Sexual Harassment Policy and
Procedures adopted by the Board of Trustees and incorporated here by reference.” Id., §
2.2.1.2, at 2-20. Under the Handbook, §§ 2 and 3 are incorporated; those sections are
subject to grievance procedures See id., § 2.8.2. Accordingly, the Policy must be
subject to strictures that protect Plaintiff from at the very least arbitrary and capricious
actions, which support the valid conclusion that even if Defendants argue that the Policy
is a state-alone regulations, Howard’s application and enforcement of the Policy,
especially against covered under the 1993 Faculty Hana'book are subject of contractual
grounds for grieving at the very least arbitrary and capricious personnel actions by

Howard.

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On May 4, 2017, Howard issued an arbitrary and capricious finding against
Plaintiff, one that also failed to comply with OCR guidance That findings flowed
inexorably out of the Report and Rationale was written by Smiley. That underlying
document was principally flawed because it did not contain a statement of the material
and relevant facts as presented by the two female complaining students Most critically,
the Report lacked any deep, structured, and analytical approach to testing the legal
sufficiency of the students’ highly subjective complaint by applying them through an
objective, impartial, and fair to the factual and/or legal predicates of sexual harassment.

In drafting the Report, Smiley relied on the subjective experience of the
complaining female students to determine conclusively whether Plaintiff had violated the
Policy. That errant reliance turned Smiley not into an objective investigator, but into a
biased investigator with an anti-male axe to grind. Accordingly, Smiley believed what
the female students told her, used their words and language, criticized what they found
disturbing, granted no creditability to Plaintiff, considered Plaintiffs scholarship as
adjunct support for her conclusion, peered into his personnel file (but was surprised to
find it empty), speculated unwarrantedly and prejudicially on a past university official
concern about Plaintiff s teaching evaluations (did she actually read them?), ventured into
Plaintiff past of 16 to 22 years seeking inculpating evidence, accused groundlessly
Plaintiff of lying about past complaints of sexual harassment (however, she failed to
adduce university records of such complaints), and ultimately concluded relying solely on
character traits and evidence that if Plaintiff passed around dirty jokes to his colleagues
22 years, then it must follow that more than likely he drafted Question 5 of a sexual

nature

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None of the foregoing items is legally sufficient to meet the factual and/or legal
predicates of sexual harassment Then on what objective basis or substantial evidence
that was material and relevant facts which made them specifically reliable and of
probative value to support the conclusion in her Report? Based on her Report and her
Declaration, Smiley never revealed the substantive basis and factual and material
evidence that properly and credibly explains how she reached her decision, not as an
advocate for the two female students, but as an institutional investigator who charged by
the Policy and federal court jurisdiction to be an impartial, objective investigator.

Fourth, as a result, Plaintiff suffered physical, emotional, and psychological
damages including suicidal ideations, panic attacks difficulty sleeping. Moreover,
Plaintiff will suffer lost present and future opportunities in academic to improve his
prestige by enjoying visiting opportunities lateral appointments decanal appointments
whether at Howard or elsewhere for which Plaintiff had already interviewed. See
Affidavit of Peter Alexander, dated Aug. 22, 2018, attached hereto as Ex. 1.

II. COUNT II STATES A CLAIM FOR BREACH OF THE IMPLIED DUTY
OF GOOD FAITH AND FAIR DEALING.

In the District of Columbia, every contract includes an implied duty of good faith
and faith dealing. Allworth v. Howard University, 890 A.2d 194, 202 (D.C. 2006).
Under this implied duty, neither party to the contract “shall do anything which will have
the effect of destroying or injuring the right of the other party to receive the fruits of the
contract.” Id., citing Paul v. Howard Univ., 754 A.2d 297, 310 (D.C. 2000). As the D.C.
Court stated, “If the party to a contract evades the spirit of the contract, williiilly renders
imperfect performance or interferes with performance by the other party, he or she may

be liable for breach of the implied covenant of good faith and fair dealing.” Id.; see

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RESTATEMENT (SECOND) OF CONTRACT § 205 (1981) (“Every contract imposes upon each
party a duty of good faith and fair dealing in its performance and its enforcement.”).

In Allworth, the Court, looking to the RESTATEMENT, sought to shed light on the
meaning of good faith, Which varies with differing context Good faith thus “emphasizes
faithfulness to an agreed common purpose and consistency with the justified expectations
of the other party.” Allworth, 890 A.2d at 201. By definition, good faith excludes “bad
faith,” which violates “standards of decency, fairness or reasonableness” Id. at 202. In
part, bad faith involves “abuse of a power to specify terms and interference with or
failure to cooperate in the other party’s performance.” Id.

Plaintiff' s employment contract with Howard contains the 1993 Faculty
Handbook and its implied duty of good faith and fair dealing. And when considering the
1993 Faculty Handbook, the parties now have fully informed rights and duties of the
contract See McConnell v. Howard, 818 F.2d 58, 62 (DCA 1987) (viewing the Faculty
Handbook as constituting the contract defining the parties’ rights and obligations). Read
in good faith, and with the reasonable expectations of fair dealings Howard had a duty to
grant Plaintiff full access to the actual factual allegations of sexual harassment and
gender discrimination against him. Under the Policy, Howard would abide the implied
covenant of good faith and fair dealing by permitting Plaintiff to write a response to the
material and relevant facts which were alleged by the two complaining students Instead,
in violation of the implied duty of good faith and fair dealing, Howard, through its Policy,
imposed a gag order on Plaintiff that prevent him from interviewing students garnering
affidavits marshaling exculpatory documents or statements Moreover, Howard, for

inexplicable reasons violated the implied covenant of good faith and fair dealings when

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Smiley converted the complaint of the two female students’ statements into allegations of
sexual harassment and gender discrimination.

In the drafting of the Report of Investigation, Smiley made every effort to make
the two females’ subjective feelings about Plaintiffs professional personality, his
salutations and sign off in his emails, his beliefs as published in his peer-review articles
their misreading of Question 5, and their desire to punish Plaintiff for his beliefs into
substantial evidence that would satisfy the legal sufficiency requirement for the legal
predicates for sexual harassment To do so, Smiley engaged in bad faith, or a violation of
the implied duty of good faith and fair dealings because she willfully rendered imperfect
performance not only so that she could validate the subjective feelings of the two female
students but also so that she could personally, professionally, and institutionally injure
Plaintiff. In addition, before to contorting the two females’ complaint into a sustained
finding against Plaintiff, Smiley deliberately lied to Plaintiff about getting access to the
factual allegations against him, and based on the revelations supplied by Report of
Investigation, which is logically and legally incoherent, Smiley needed to engage in
subterfuge and evasions because she had no legal or institutional basis for asserting Title
IX jurisdiction over the complaints filed by the two female students on December 4,
2015,

Lastly, Provost Wutoh had a due diligence requirement under the Policy, and
given that he is the Title IX Decisional Authority, and given that the Provost thus must
receive ongoing and periodic training so that he too can effectively determine whether
sexual harassment and gender discrimination has taken place it was bad faith and thus a

violation of the implied duty of good faith and fair dealing because as the second highest

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ranking agent at Howard University, the Provost must have a greater sensitivity to the
1993 Faculty Handbook and its implied duty of good faith and fair dealing. As such, the
Provost must appreciate that Plaintiff had a reasonable contractual expectation to be free
from arbitrary and capricious personnel actions that would alter the terms and conditions
of employment violate academic freedom, alter his personnel status or violate
established rules and regulations See 1993 FACULTY HANDBOOK, § 2.8.2, at 2-61.
Moreover, upon his appeal to Provost, Howard was placed at the very least was placed on
inquiry notice, and Plaintiffs appeal should have triggered the Provost to exercise a
heightened level of due diligence However, in an effort to retaliate and thus to frustrate
Plaintiffs effort to seek appropriate redress after all he could not appeal to any other
University official, Provost acted in bad faith, thus violating the implied duty of good
faith and fair dealing.

III. COUNTS 3, 4, and 6 STATE A CLAIM UNDER TITLE IX, AND
DEFENDANTS ARE NOT ENTITLED A JUDGMENT AS A MATTER OF LAW.

In Counts 3, 4, and 6, Plaintiff asserts claims that Howard violated Title IX of the
Education Amendments of 1972 (20 U.S.C. §§ 1681-1688) [comrnonly known as “Title
IX”). Amended Compl., 1111 272-292, at 69-75; 1[1] 294-303, at 75-77. Title IX provides
that “[n]o person in the United States shall, on the basis of sex, be excluded from
participation in, be denied the benefits of, or be subjected to discrimination under any
education program or activity receiving Federal financial assistance.” 20 U.S.C. §
1681(a).

Howard is a private institution of higher education and a recipient of federal
funding, and thus it is subject of the rules and regulations of Title IX. Plaintiff has a

private right of action for violation of Title IX and its regulations against recipients of

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federal financial assistance See Cannon v. University ofChicago, 441 U.S. 677 (1979).
Although Defendants argue that he invites this Court to second-guess university
disciplinary decisions Plaintiff simply ask this Court whether an unsupported Notice of
Finding by an investigator who applied the subjective experience constituted a breach of
his employment contract and the 1993 Faculty Handbook and its implied duty of good
faith and fair dealing. In the District of Columbia, federal and state courts have refused
to defer to Howard University when it and an employee disputed when either of them had
breached the employment agreement and the Faculty Handbook. See McConnell v.
Howard Univ., 818 F.2d 58, 68 (D.C.A. 1987) (“On remand, the trial court must consider
de novo the appellant’s breach of contract claims; no special deference is due the Board
of Trustees once the case is properly before the court for resolution of the contract
dispute.”).

1. Count 3 States an “Erroneous Outcome” Claim Under Title IX and
Defendants Are Not Entitled to a Judgment as a Matter of La_w_.

On May 4, 2017, Howard made no objective findings of material fact or
conclusions of law to support its finding, recommendations and disciplinary action, See
supra Count 1, at 17-21. Without that finding, Howard’s Notice not only was arbitrary
and capricious but also had violated established rules and procedures Under the Policy,
one of those rules was that the Report had to make findings of material facts It did not
Under the Policy, one of the procedures was that, given that Plaintiff was strongly
encouraged to cooperate with the investigation, he needed to write a response to the
important facts in the allegations against him. In his December 2l, 2015 denial of
violating the Policy, Plaintiff plainly and cogently explained a fair reading of the Notice

of Complaint and the Policy required a degree basic fairness that would have been

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consistent with the 1993 Faculty Handbook. Smiley thereafter lied, deceived, evaded,
and engaged in subterfuge so that Plaintiff could not prepare himself for the Interview of
January l3, 2016, where Smiley played the role not of investigator but prosecutor.

On January 13, 2016, Smiley told Plaintiff that Howard applied the subjective
experience test to determine conclusively whether Plaintiff violated the Policy. On May
10, 2017, when Plaintiff attended the Mandatory Sensitivity Training for Sexual
Harassment, Love showed him slides and told Plaintiff during the presentation on the
2017 Policy that Howard applied the subjective experience test.6 And after January 13,
2016, Plaintiff wrote to Smiley saying that she was biased, and relied on the wrong test
for evaluating objectively Whether Plaintiff had violated Howard’s Policy. Since that
Interview and in his appeal to Wutoh, Plaintiff again stated that Howard (and Smiley) had
failed to apply the objective test See Oncale v. Sundowner O_§‘"shore, 523 U.S. 75 (1998).

According to others the subjective experience test, or believe the victim, denies
the accused like Plaintiff of his right to be investigated fairly. As at Howard, some local
police units rely on this approach. According to Amy Swearer, “the basis premise of the
[“Start by Believing”] campaign is . . . to focus on how the complainant could be telling
the truth despite evidence to the contraiy.” Amy Swearer, T his Junk-Science Approach to
Sexual Assault Cases Would Trample on Rights of the Accused, LAW COMMENTARY, Jan.
24, 2018, at 2, attached hereto as Ex. 2. Swearer also states “Under this approach,
investigators should no longer be neutral, third-party fact-gatherers, but agents of the

person alleging sexual assault [or sexual harassment]. They should assume all

 

6 Throughout these pre-trial filings and motions Howard has never denied that it has relied

on the subjective experience test to determine conclusively whether more than likely an accused
male student and/or employee has violated the Policy. During discovery, Plaintiff will have apt
opportunity to find other accused males and depose them or get their affidavits whether they too
were told by either Love and/or Smiley that Howard applies the subjective experience test

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complainants are genuine victims and must find ways of making even inconsistent
inaccurate and exculpatory evidence support the complainant’s allegations” Id.

However, this Court ought not to abide the subjective experience test which is
unpublished and unknown at Howard, and on Which Howard unofficially relies and uses
institutionally against (more than likely) accused male students and employees to
determine whether they engaged in sexual misconduct against the University community.

Defendants assert that this Court cannot review whether Smiley’s Report satisfies
the sufficiency of the evidence test and whether Howard’s adoption of her unsustained
findings breached its contract with Plaintiff. Defs’ Mem in Support of Motion to Dismiss
or in the alternative Sum Judg, at 21. They say that Howard’s Notice which essentially
sanctions Plaintiff for breaching his contract with the University not to engage in such
sexual misconduct lies beyond the reviewing ken of this Court, calling it a “super
review” because, as Defendants’ argue “Robinson’s misleading and conclusory
allegations are insufficient to state a valid claim pursuant to an “eironeous outcome”
theory.” Id.

Yet, with no objective evidence and with thus a subjective one, Howard has
punished Plaintiff. On paper, and in fact Howard has taken away Plaintiffs reasonable
contractual expectations of academic freedom and free expression In effect Howard’s
unsustained finding and disciplinary action told him that he can be terminated from his
faculty position for the following reasons: (l) students feel strongly that he has asked the
wrong factual or substantive question; (2) students have hearsay information about him
and act on this unreliable information; (3) students who lack Plaintiff’s substantive

knowledge of Agency Law can object to his teaching tools; (4) they emotionally and

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strongly object to his published ideas and beliefs; and/or (5) they object to his casual,
professional personality. Now, having supplemented how it defines sexual harassment,
Howard can terminate Plaintiffs tenured faculty position with little regard for whether it
has also breached his reasonable contractual expectations and entitlements under his
employment contract and the 1993 Faculty Handbook and its implied duty of good faith
and fair dealing.

According to the D.C. Court of Appeals, this Court can review whether Howard
properly investigated and applied its procedures under the Policy when viewed through
Plaintiffs employment contract and the 1993 Faculty Handbook and its implied duty of
good faith and fair dealings In McConnell v. Howard Universily, Howard’s Board of
Trustees ignoring the full report of a Faculty Grievance Committee, voted to terminate
Professor McConnell, a tenured faculty member, when he refused to teach one of his
courses after he was insulted by a student who later refused to apologize The District
Court asserted in its ruling against Professor McConnell that the reviewing court ought to
defer to Howard’s termination decision 818 F.2d 58, 67 (D.C.A. 1987). The Court of
Appeals rejected that argument as meritless Id.

In McConnell, the Court of Appeals noted that the lower court seized on Faculty
Handbook’s language that Trustees’ decisions were final. As Professor McConnell had
agreed to those terms then “judicial scrutiny [Was] limited to a modest inquiry as to
whether the Trustees’ decision was ‘arbitrary,’ ‘irrational,’ or infected by improper
motivation.”’ Id. However, Howard’s employment contract which includes the 1993
Faculty Handbook and its implied duty of good faith and fair dealing, “is not intended to

shield decisions of the Board of Trustees from judicial scrutiny, but is designed to

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indicate the endpoint of the internal grievance procedures.” Id. at 68. If the Court of
Appeals were to adopt the lower court’s limited judicial review over the Board of
Trustees’ substantive decisions “we would be allowing one of the parties to the contract
to determine whether the contract has been breached. This would make a sham of the
parties’ contractual tenure arrangement.” Id.

Moreover, the McConnell Court ruled that the District Court must consider de
novo Plaintiffs claim that Howard’s Notice and Disciplinary breached its employment
contract with Plaintiff and his reasonable contractual expectations and entitlements of the
1993 Faculty Handbook and its implied duty of good faith and fair dealings Id. The
Court of Appeals also held that “no special deference is due to the Board of Trustees once
the case is properly before the court for resolution of the contract dispute.” Id. In this
Court’s search for the reasonableness of Howard’s actions the question must be whether
Howard’s Notice and Disciplinary Actions were consistent with the parties’ contract Id.
at 69. As the Court of Appeals stated, “lt Would make no sense for a court blindly to
defer to a university’s interpretation of a tenure contract to which it is an interested
party.” Id.

Plaintiff has placed his contract dispute with Howard properly before this Court.
In its original complaint and first amended complaint Plaintiff has stated a claim for
which relief can be granted by alleging that Howard breached its employment contract
and the 1993 Faculty Handbook and its implied duty of good faith and fair dealings
when, Without objective findings of material facts and conclusions of law, the Provost
who has terminal, nonreviewable authority adopted Smiley’s Report that falsely sustained

allegations of sexual harassment After placing the Board of Trustees the President and

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the General Counsel on at the very least inquiry notice the Provost’s decision has been
ratified by the Board of Trustees Under the McConnell principle the Provost’s decision,
as well as the Trustees the Court must de novo Plaintiffs breach of contract claim, and it
must grant no special deference to the Provost’s decision, which has impliedly been
ratified by the Board of Trustees

In his First Amended Complaint, Plaintiff has taken greater steps to plead that the
Report evidences that Howard’s procedures which are informed by the subjective
experience test to determine conclusively whether an accused (male) have violated the
Policy, was infused impermissibly with an anti-male bias Consider the following: (l)
on September 17, 2015, Plaintiff does not engage in sexual harassment (2) on December
4, 2015, two female students who were highly emotional and angry, filed complaints
against Plaintiff, neither of which alleged sexual harassment, and Smiley is deferential
and highly supportive (3) on December 17, 2015, Smiley improperly notifies Plaintiff of
the actual facts of the allegations against him, evidencing a degree of evasion, subterfuge
and bad faith; (4) on December 21, 2015, Plaintiff denies violating the Policy, and clearly
pointed out that the Policy’s language mandated that Smiley’s notice satisfy a basic
fairness standard; (5) on January 13, 2016, Smiley, while standing a prosecutorial stance
and revealing a gender bias told Plaintiff that she would apply a subjective experience of
the complaining students test to determine conclusively whether he violated the Policy;
(6) after the January 13, 2016 meeting, Plaintiff proffered pedagogical contexts and
exculpatory documents through emails that were rational, analytical, cogent and
documented; (7) on May 4, 2017, after more than 504 days of investigating the

allegations against Plaintiff, Smiley submitted a Report that was irrational, illogical, and

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unfocused but purposeful in her effort to find any basis to conclude that the allegations
against Plaintiff were sustained; (8) Smiley’s report adopted the emotional language of
the two female students rejected what Plaintiff said or submitted to her as completely
lacking in credibility; (9) Smiley’s Report having made no findings of material facts and
having tied no material facts to the factual and/or legal predicate of sexual harassment
researched Plaintiff’ s employment history based 16 to 22 years and relied completely on
prejudicial character traits and/or evidence to conclude If Plaintiff shared dirty jokes
which he did not draft with colleagues 22 years ago, then he more than likely drafted
Question 5 of a sexual nature; and (10) although Smiley completed the Report in March
2017, the Provost rolled out the Notice of Finding on May 4, 2017 at an institutionally
convenient time that preceded the filing of the Jane Doe 5 case on May 10, 2017,

Given the foregoing, Plaintiff has stated a claim under Title IX. To sufficiently
establish a claim of “erroneous outcome” Plaintiff must claim sufficiently, but not prove
factually and definitively, at this pre-trial stage that: (1) “a procedurally or otherwise
flawed proceeding”; (2) “that has led to an adverse and erroneous outcome;” and (3)
“particular circumstances suggesting that gender bias was a motivating factor behind the
erroneous fmdings.” Yusufv. Vassar College, 35 F.3d 709, 715 (2d Cir. 1994); see also
Doe v. Miaml' Univ., 882 F.3d 579, 589 (6th Cir. 2018) ((recognizing Title IX defenses of
“(1) erroneous outcome (2) selective enforcement (3) deliberate indifference and (4)
archaic assumptions”) (internal punctuation and citations omitted); Doe v. Columbia
Univ., 831 F.3d 46, 58 (2d Cir. 2016). To Succeed, the plaintiff must show “particular

facts sufficient to cast some articulable doubt on the outcome of the disciplinary

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proceeding” and circumstances showing “that gender bias was a motivating factor behind
the erroneous finding.” Yusuf, 35 F.3d at 715.

Given the foregoing, Plaintiff has stated a claim for which relief can be granted,
and thus Defendants are not entitled to dismiss this count Plaintiff asserts that the central
dispute of material fact is: (l) Whether on September 17, 2015, he engaged in conduct of
sexual harassment, and (2) whether Howard breached Plaintiffs employment contract
and the 1993 Faculty Handbook and its implied covenants of good faith and fair dealing
by finding that sufficient evidence existed to sustain allegations of sexual harassment
against him. Given the centrality of this dispute and given that has been properly
apprised of Plaintiffs claim, Defendants have no basis to have this claim dismissed or to
get a judgment as a matter of law.

2. CLint 4 S@ted a Claim of Deliberate Indifference in Violation of Title IX`
and Defendants Are Not Entitled to a Judg@nt as a Matter of Law.

Plaintiff has properly stated a claim under Title IX for deliberate indifference where the
sex discrimination is not student to student but administrator/investigator to faculty. In
order to establish a Title IX deliberate indifference claims Plaintiff must establish that
“an official of the institution [who] had authority to institute corrective measures had
actual notice of and was deliberately indifferent to the misconduct” (2) the university’s
conduct caused the student “to undergo harassment or to make [him/her] liable or
vulnerable to it”, (3) and the university’s response to the harassment . . . is clearly
unreasonable in light of the known circumstances.” See Mallory v. Ohio Um`v., 76 F.
App’x 634, 638 (6t Cir. 2003).

In make out such a claim, Plaintiff need not be forced to make a sexual

harassment allegation against Smiley and/or the Provost Doe v. Univ. of the South, 687

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F. Supp. 2d 744, 758 (E.D. Tenn. 2009) (dismissing a plaintiffs Title IX deliberate-
indifference claim because he “fail[ed] to allege any facts to support a finding that the
University’s actions were at all motivated by [his] gender or sex or constituted gender
harassment or sexual harassment”). Rather, Plaintiff can assert that the investigative and
disciplinary process Were deeply infected by an anti-male bias viz., the subjective
experience of the complaining female students See Plummer v. Univ. ofHouston, 860
F.3d 767, 778 (Sth Cir. 2017) (dismissing plaintiffs’ deliberate-indifference claim, but
implying that the misconduct need not be sexual harassment but rather could be
constitutional deficiencies in the disciplinary process).

Prior to May 4, 2017, Plaintiff knew that Smiley was biased against him and/or
accused males In his many email missives to Smiley, he made rational, logical, and
substantive effort to move her toward adopting a rational, objective investigator posture.
It was not until May 4, 2017 that he realized that the every investigative process was
infected by the subjective experience which gave undue evidentiary weight to the two
complaining female students even though they never made a prima facie case of sexual
harassment Moreover, until Defendants’ filed their first motion to dismiss or in the
alternative summary judgment and included the Report and Rationale, Plaintiff had no
idea the depth to which Smiley would plum to ensure that she validated every statement
made by Cl and C2. To say the least Smiley’s (and Love’s) committed to the
investigative process revealed itself in the Report on which the Notice was premised.

Moreover, on May 4, 2017, when Plaintiff with the Provost and Love for the
reading of the Notice of F indings he again learned that the Title IX Office had relied not

an objective but subjective evaluation test. For example, Love stated, “Plaintiff should

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understand that if the students had to answer the question, they were already harmed,” or
words to that effect

On May 14, 2017, Plaintiff appealed the Notice of Finding to the Provost On
May 25, 2017, he spent that appeal to Mr. Stacey Mobley, Chair, Board of Trustees and
to President Wayne Frederick. At the very least they had inquiry notice At best they
had actual notice In May 2017, Plaintiff sent the Notice the FIRE, and in June 2017,
FIRE sent their letter to Howard’s entire leadership, putting them against on actual
notice Lastly, Plaintiff filed grievance complaint with the Faculty Grievance
Commission (“FGC”), and by June 14, 2017, the FGC had reached a preliminary finding
that Plaintiffs grievance “merited detailed investigation” The FGC sent preliminary
finding to Wutoh and Smiley, and for these purposes Wutoh, the second highest-ranking
University officer, who was empowered to take corrective action, especially because he
had terminal authority that was not appealable and he did nothing. Lastly, at mandatory
mediation in July 2017, which was not covered by confidentiality and privilege the
Provost admitted that Plaintiff had not violated the Policy. As such, the Provost had
wanton disregard for the unsupported Notice and he still continues not to take corrective
action

Given the importance of the 1993 Faculty Handbook and its implied duty of good
faith and fair dealing, which imposes duties and obligations on administrators and
faculty, Howard’s leadership response has been clearly unreasonable Likewise it Was
clearly unreasonable for Wotuh, Smiley, Love, and the Title IX Office to use the
unsupported Notice to address a deep institutional conflict of interest that arouse out of

and under the Jane Doe 5 v. Howard University case Such deliberate conduct more than

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suggests that Wutoh, Smiley, and Howard were far more concern about an OCR
investigation than whether their calculated use of the timing of the Notice harmed

Plaintiff.

3. Count 4_Stated a Claim of Retaliation in Violation of Tit£ lX, and
Defendants Are Not Entitled to a Judg_ment as a_l\/_I_atteL of Law.

 

 

For purposes of Title IX, sex discrimination encompasses retaliation against a
person because that person has complained of sexual harassment See Jackson v.
Birmingham Bd. of Ea'uc., 544 U.S. 167, 174 (2005). By defmition, retaliation within
Title IX is an intentional act of sex discrimination Wells v. Hense, 235 F.Supp.3d 1, 7
(DDC 2017), citing Jackson, 544 U.S. at 173-174.

Prior to sending the Notice and related documents to FIRE, Plaintiff and the
Wutoh had communicated privately by email. On May 14, 2015, before graduation,
Plaintiff had filed his appeal with the Provost At the graduation, he had planned to talk
with Plaintiff. Unfortunately, Plaintiff could not attend. Having missed me at
graduation, Wutoh sent Plaintiff an email, indicating that he had Wished to talk with him
at graduation Later, discovering that Wutoh had written to him in a tone that would
invite a conversation, Plaintiff wrote an apologetic note to him.

However, after he filed his appeal, Which had intended to be private it Was
Smiley either had been directed by Wutoh to read the appeal, or had insinuated herself
into Plaintiffs private effort to redress this erroneous finding institutionally. At or
around May 20, 2017, Susan Kruth of FIRE contacted Plaintiff, and they talked. As a
mere courtesy to Wutoh, Plaintiff notified him that he would send the Notice and related
documents to a disinterested third party, However, once Wutoh permitted Smiley to

review his appeal, Plaintiff realized that she would infect his appeal with her anti-male

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bias On the morning of May 25, 1017, at approximately l:40am, Plaintiff received an
email from Wutoh with an attached letter, which was dated May 24, 2017, or
approximately 2 or 3 days after he had told Wutoh about FIRE’s interest

In that May 24, 2017 letter, the Provost did not say that he was returning my
appeal because under the Policy, his decisions as the Title IX Decisional Authority are
final and unappealable Prior to sending the appeal to Wutoh, Plaintiff was aware that
under § V. C. (10), at 14 of the Policy, Wutoh had a due diligence obligation Plaintiff
had hoped that even if he had relied solely on Smiley and at that earlier time had not
properly exercise his due diligence he would do so in the face of Plaintiffs appeal.
Rather than say that he had reviewed my appeal and then had revisited the Report and its
Rationale and that he stands by his decision, Wutoh stated that he relied on the Title IX
Office and that I had found in violation of the Policy. At that juncture Wutoh could have
reversed himself, unless he required a finding against Plaintiff due to the institutional
conflict arising out of the federal court filing of Jane Doe 5 v. Howard University.

Due to the complete institutional authority invested in Wutoh as the Title IX
Decisional Authority, once he failed to undertake due diligence and once he summarily
rejected his appeal, Plaintiff had very few options He had none institutionally other than
filing a grievance complaint with the FGC. However, after the FGC issued its
preliminary finding, Wutoh and Smiley never forwarded their investigative file to the
FGC. Although he filed a complaint with the FGC, the Board of Trustees and the
President are not institutionally required to accept his recommendations and in the

preliminary findings the FGC found that Wutoh and Smiley at the very least had acted

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arbitrarily and capriciously. That finding did not move Wutoh and/or Smiley to
undertake corrective measures even though Wutoh was clearly empowered to do so.7

Lastly, Plaintiff states that Wutoh was angry that an outside, third party would in
effect discover that Howard had issued a Notice of Finding that had nothing to do with
sexual harassment by Plaintiff, Even at the mandatory mediation, after Wutoh admitted
that Plaintiff had not violated the Policy, he asked Plaintiff: “Now what about Howard?
What about our needs?,” or words to that effect He and Teeling wanted Plaintiff to agree
that as a consequence of Plaintiffs Question 5, the Title IX Office investigated Yet, the
Provost and Teeling continued the subterfuge causing Plaintiff to believe that the two
complaining female students had actually filed allegations of sexual harassment
IV. COUNT 5 STATES A CLAIM UNDER TITLE VII.

After filing his complaint with the EEOC, Plaintiff received a Right to Sue Letter
that was sent on November 27, 2017, Accordingly, to the Letter, Plaintiff was required to
file his case in federal court not later than 90 days from the date he received the Right to
Sue Letter, Conservatively, Plaintiff received the EEOC Letter on November 28, 2017,
allowing one day’s delivery by USPS. Although Plaintiff filed his original complaint on
February 24, 2018, the clerk’s office did not docket it until February 26, 2018.
Accordingly, Plaintiffs EEOC or Title VII claim is not time barred.

Plaintiff, in original complaint and first amended complaint, stated a claim for sex
discrimination under Title VII. First, he pled sufficiently factual allegation He stated
that Howard had adopted a subjective experience test or believe the victim, that had an

anti-male bias However, it was Plaintiff s reading of the Report and its Rationale that

 

7 Defendants’ motion referred the adverse action of the Letter of Reprimand. However,

Plaintiff did not receive that Letter of Reprimand until May 30, 2017, at which time she informed
me that the Letter of Reprimand would be permanently placed in Plaintiff s personnel file

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allowed him to fully see that extend to which Smiley went to credit Cl and C2’s very
emotional statements and substantive misunderstandings will absolute truthfulness

Second, Howard has the burden of production and persuasion to show that
despite Smiley’s anti-male bias it had an objective non-pretextual, and non-
discriminatory reason for issuing the Notice and the Letter of Reprimand. Based on the
Report and its Rationale Howard failed to show that the Cl and C2 made out a prima
facie case of sexual harassment, and that after a thorough investigation, the findings of
material facts and conclusions of law more than likely show that Plaintiffs conduct
meets that legal sufficiency for sexual harassment

Third, Plaintiff has been harm, i.e., emotionally, physically, and psychologically.
Howard’s disciplinary action did not give Plaintiff the choice to “allow” class
observations to “allow” review of his quizzes, and “allow” students to keep his
intellectual capital, i.e., quizzes. Plaintiff had to attend the training, or Howard would
fire him. Howard further threatened Plaintiff with additional disciplinary action if he
violated the Policy again, even though Howard failed to show that he had engaged in
sexual harassment

Fourth, the Court should apply the relations back doctrine In his Original
Complaint, Howard University and its Trustees were aware that Plaintiff had filed a Title
VII Claim. After he filed his complaint, Plaintiff communicated with the General
Counsel who had apparently seen Plaintiff’s Original Complaint. In this way, Howard
has not been prejudiced by any significant delay.

VI. COUNT 7 STATES A CLAIM UNDER INTENTIONAL INFLICTION OF
EMOTIONAL DISTRESS.

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In the First Amended Complaint, Plaintiff stated a claim for which relief could be
granted, and so that Defendants understood what claim he was asserting. Mindfully,
Plaintiff is not required to adduce trial-admissible evidence or allege detailed facts To
made out a prima facie case of intentional infliction of emotional distress Plaintiff must
show: (1) extreme and outrageous conduct on the part of Defendants which (2) either
intentionally or recklessly (3) causes Plaintiff severe emotional distress See Morton v.
District of Columbia HousingAuthority, 720 F.Supp.2d 1, 8-9 (DDC 2010) (holding that
plaintiffs made out a claim of intentional infliction of emotional distress in the face of a
motion to dismiss where reasonable people might disagree it becomes a jury matter).
To survive a 12(b)(6) motion, Plaintiff s “allegations . . . must afford a basis for
concluding that [the plaintiff] may be able to prove conduct of the required enormity.”
Carey v. Edgewood Mgmt Corp., 754 A.2d 951, 956 (D.C. 2000).

In today’s social climate Defendants who must make the weighty decision to find
against an accused, especially a male must appreciate that a sexual harasser has a
doomed social life and marginal career opportunities In this Plaintiff has claimed that
Defendants knew or in the exercise of due care should have known that by applying the
subjective experience test they ran a high risk of condemning Plaintiff not only at
Howard but also within his profession By closely examining the Report and its
Rationale or just by giving it a fair read, Smiley knew, especially due to her required
training, or in the exercise of due care should have known that Cl and C2 had failed to
make a prima facie claim that they had suffered sexual harassment Moreover, Plaintiff
has claimed, and he ought to have a chance through discovery and a jury to make this

claim, Wutoh, Smiley, and Love used Plaintiff and the finding against him to deal with a

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deep institutional conflict of interest arose out of the protest by students (i.e.,
#NoMeansNo) to stave off a hostile jury if and when the Jane Doe 5 sued Howard in
federal court and if and when the OCR investigated the University.

But to effectively deal with this conflict of interest Plaintiff has claimed that
Wutoh, Smiley, and Love decided to control the timing of the Notice of Finding, picking
May 4, 2017, which was six days before the Jane Doe 5 sued Howard in federal court
Today, it is extreme and outrageous for Howard, Wutoh, Smiley, and Love to target
Plaintiff so that they could say to a jury or to OCR that they will punished accused males
of sexual misconduct because they just did so to a law professor. By implication,
Plaintiff claims that the Defendants acted intentionally and recklessly.

Second, Plaintiff suffered severe emotional distress Once Plaintiff read the
Notice he became depressed, especially when despite his best effort and his desire to
pursue a remedy quietly and institutionally, it became clear that he would have to risk
exposing himself to public scrutiny. He had to face his 12-year-old son, telling him that
his father had been effectively accused of touching females without their permission He
had to overcome deep bout of depression, and to seeking counseling so that he could cope
not only with daily patenting demands but also professional obligations Eventually,
Plaintiff felt so boxed and could see no way out of this inexplicable finding that he
contemplated suicide Through discovery and depositions Plaintiff may be able to prove
the “conduct of required enormity.”

VII. COUNT 7(b) STATES A CLAIM UNDER NEGLIGENT INFLICTION OF
EMOTIONAL DISTRESS.

In the First Amended Complaint Plaintiff stated a claim for negligent infliction of

emotional distress which is a common law species of negligence theory. Since 1994,

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Plaintiff has been in an employment relationship However, the special relationship that
Plaintiff asserts here flows from the undertaking of the Title IX Office to continue a
tortious relationship with Plaintiff, where on its face Cl and C2 had failed to make a
prima facie case of sexual harassment against Plaintiff.

To make out a claim of negligent infliction of emotional distress Plaintiff may
recover if he can show (l) “the defendant has a relationship with the plaintiff, or has
undertaken an obligation to the plaintiff, of a nature that necessarily implicates the
plaintiffs emotional well-being,” (2) an especially likely risk exists that “the defendant’s
negligence would cause serious emotional distress to the plaintiff,” and (3) the negligent
actions or omissions of the defendant in breach of that obligation have in fact caused
serious emotional distress to the plaintif .” Doe v. Barnabei & Wachtell, PLLC, 116
A.2d 1262, 1268-1269 (D.C. 2015), citing Hedgepeth v. Whitman Walker Clinz'c, 22 A.3d
789, 810-11 (D.C. 2001) (en banc).

In this case Plaintiff claims that ordinarily Wutoh, Love, and Smiley would be in
a purely employer-employee relationship that would bar a claim of a special relationship
within the meaning of Hedgepeth’s reasoning. However, when Smiley and Love
undertook to cause Plaintiff to suffer tortiously, and when Wutoh, Love, and Smiley
associated to decide to use Plaintiff and an unsupported Notice against him, they altered
the institutional relationship because such conduct would fall outside of the scope of their
employment and it constitutes an intentional act of sex-based discrimination in violation
of Title VII and Title IX. Under Agency Law, without direct commands and/or

authorization by their superiors Wutoh, Smiley, and Love’s tortious discriminatory

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conduct cannot create vicariously liability for Howard, even if they were to argue that
their illegal conduct was solely intended to benefit their employer.

Moreover, Wutoh, Smiley, and Love had to know or in the exercise of due care
should have known that their undertaking would necessarily implicate Plaintiffs
emotional well-being, and they would case Plaintiff to suffer emotional harm. Lastly,
Plaintiff did suffer emotional harm, including but not limited to an inability to sleep,
panic attacks depression, suicidal thoughts etc.

VIII. COUNT 9 STATES A CLAIM UNDER NEGLIGENCE, AND
DEFENDANTS ARE NOT ENTITLED TO A JUDGMENT AS A MATTER OF
LAW .

Plaintiff states a claim for negligence against Defendant Howard. In the District
of Columbia, “[t]o invoke this theory of liability it is incumbent upon a party to show that
an employer knew or should have known its employee behaved in a dangerous or
otherwise incompetent manner, and that the employer, armed with that actual or
constructive knowledge failed to adequately supervise the employee.” Giles v. Shell Oil
Corp., 487 A.2d 610, 613 (D.C. 1985), citing Brown v. Argenbright Sec., Inc., 782 A.2d
752, 760 (D.C. 2001).

Yet, even if the Howard asserts that it cannot be held liable for the negligence of
its employees including the second highest-ranking agent at the University, it can still be
liable under the “sole actor doctrine.” Grassmueck v. Americn Shorthorn Ass ’n, 402 F.3d
833, 837-838 (8th Cir. 2005) (“There is, in turn, a caveat to that ‘adverse interest’
exception to imputation rules known as the ‘sole actor doctrine.”’). Under this doctrine

third parties can impute an agent’s knowledge to the principal, i.e., Howard,

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notwithstanding the agent’s adverse interests where “the principal and agent are one and
the same.” Id. at 838 (quoting In re Mediators, Inc., 105 F.3d 822, 827 (2d Cir. 1997).

For institutional reasons Howard set up the Title IX Office so that its personnel
could meet the charge imposed on Howard University by local and federal authorities
rules and regulations What follows is purely speculative in the absence of discovery.

Nevertheless, the Board of Trustees has oversight responsibility, basically so that
they can ensure compliance To ensure compliance the Provost would report directly to
the Trustees and/or he would ensure that periodic compliance or risk management reports
were placed before the Trustees Through such contact with the Trustees who must
undertake due diligence especially if Wutoh, a fiduciary, were fully disclosing, Howard
could learn whether its employees were proficient dangerous or otherwise incompetent
If the Trustees failed to exercise their due diligence and fiduciary duty, they might refuse
to open a proverbial “can of worms,” especially if the Provost assured them that lurking
issues would not place Howard at risk of exposure to liability. Regardless, the Trustees
would be on constructive notice and would have knowledge imputed to them in the event
that a Howard employee like Plaintiff were injured by Smiley’s crusade to save female
complainants at the expense of accused males Such notice and knowledge would make
Trustees either liable individually and/or as a body.

However, if Howard set up the Title IX Office to work as a silo, attempting to
hermetically shelter it ii‘om political pressure and personal influence and if as a result
that institutional arrangement permitted the Title IX Decisional Authority to operate
virtually without oversight then the “sole actor doctrine” would like apply. Under this

agency concept Howard cannot escape liability for the actions of Wutoh, Smiley, and

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Love by declaring that they were simply adverse agents and/or employees and are thus
personally liable for their own tortious conduct destructive actions and incompetence
Under either common law theory of negligence and agency law, Howard has
negligently supervised Wutoh, Smiley, and Love either by failing to undertake due
diligence thus making Howard and perhaps the Trustees liable under constructive
knowledge theory and breach of their fiduciary duties or by construction through the
“sole actor doctrine” which permitted an adverse agent and/or employees to engage in
destructive tortious and injurious conduct as a result of isolating the Title IX Office

from stringent oversight

IX. COUNT 10 STATES A CLAIM FOR DECLARATORY JUDGMENT AND
PERMANENT INJUNCTIVE RELIEF, AND DEFENDANTS ARE NOT
ENTITLE TO A JUDGMENT AS A MATTER OF LAW.

Plaintiff has stated claim that would likely entitle him to relief, and so
Defendants’ premise fails - Plaintiff has stated causes of actions for which relief can be
grant Thus, it does not follow logically that Plaintiffs demands for declaratory and
injunctive relief must fail.

As for the injunctive relief, Plaintiff would prevail on the merit At present
Howard cannot argue successfully that Smiley’s Report and its Rationale tie material and
relevant facts to elements of the legal predicates of sexual harassment Without this link,
Howard has failed to meet its burden of proof. Moreover, Plaintiff has stated a claim
sufficiently that Howard breached its employment contract with Plaintiff, including the
1993 Faculty Handbook and its implied duty of good faith and fair dealings

Assuming arguendo that has met the legal sufficiency tests for counts 1 though 6,

then Plaintiff claims that he has suffered irreparable Even given what Defendants’ legal

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counsels know about this case, they stated perhaps inadvertently in their motion to
dismiss that “Plaintiff is a sexual harasser.” That label has harmed Plaintiff, especially
within legal academe. He simply will be unable to enjoy the well-earned fruits of his
intellectual labors Moreover, wherever he travels professionally, he cannot know
whether one of his colleagues not perhaps a close, has read of Plaintiffs legal struggle
with Howard, and he or she can concluded that “Reggie is damaged goods.” While this
Court cannot remove the tortious stain from Plaintiff s once immaculate professional
reputation, it can lessen the injury in a #MeToo social climate in which an accusation
against a male is tantamount to public domain conviction

As for the balancing of the hardships between the parties Plaintiff has suffered
lost that Howard Will never feel. Eventually, the agents and/or employees who harmed
Plaintiff will retire or venture elsewhere However, Plaintiff will likely never have an
opportunity to lateral. At the very least this Court have begin the process by which
Plaintiff lives and works without the Damocles sword of “sexual harasser” hanging above
his neck.

Lastly, the public interest would support granting Plaintiffs request for injunctive
relief. No one wishes another to suffer without cause In today’s social climate no one
throws “sexual harasser” around liberally and recklessly. Without cause “sexual
harasser” is damning to the lips that recklessly speak it, and a blow to innocent face that
tortiously receives it.

Throughout this memorandum in opposition, Plaintiff has stated claims for which
can be granted. One such request is for injunctive relief. His claims done fail, and so

argued above Plaintiff respectfully ask this Honorable Court for injunctive relief.

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CONCLUSION

F or the foregoing reasons Plaintiff is entitled to his day in court and Defendants

are not entitled to a dismissal or a judgment as a m er of law \

Date: August 24, 2018

  

 

degi id l,eamon Robinson
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Exhibit l

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REGINALD LEAMON ROBINSON,

Pro Se Plaintiff,

VS.

HOWARD UNIVERSITY, et al.,

Defendants.

lN THE DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

)
)
)
)
) Case No. 18-cv~00518-TNM
)
)
)
)

AFFIDAVIT OF PETER C. ALEXANDER

The undersigned, PETBR C. ALEXANDER, being duly sworn, hereby deposes and states:

l.

1 am cun'ently a Visiting Professor and Intei'iin Associate Dean for Academic Affairs
at the University of North Texas at Dallas College of Law.

I am in my twenty-seventh year in legal education and, in addition to niy current
position l have served as a professor, an Associate Dean for Research and Faculty
Development, and as Dean at two law schools

During my twenty-seven years in legal education 1 have served on or have chaired
faculty hiring committees for at least twelve of those years

l have read the pleadings in the above-captioned action and have discussed the
underlying facts of this case with the Plaintiff and it is my opinion that the allegations
that were made against Professor Robinson would be disqualifying to a faculty hiring
committee even if all the allegations were resolved in Professor Robinson’s favoi‘.

From my experience in law school faculty hiring, I can confidently state that hiring
committees are risk-averse, and it is unlikely that a hiring committee would want to use
its limited resources to invite to campus for a full interview someone who has had
allegations levied against them as Professor Robinson has

Moreover, I do not believe that a hiring committee would treat an application from a
candidate like Professor Robinson differently, even if the candidate was ultimately

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vindicated because there are so many law teaching applicants each year with no
bleniishes on their records.

7. lt is also my opinion that the chances of Professor Robinson being able to obtain a
lateral appointment at another law school are slim to none.

FURTHER AFFIANT SAYETH NAUGHT.

1 declare that to the best of my knowledge and belief, the information herein is true correct, and
complete

ll
i ",

Executed this :i~ day of August 2018.

 

PETER c. ALEXANDER, Arnanrm

TEXAS NOTARY ACKNOWLEDGEMENT

State of Texas
County of Dallas

Before me, Affiant Peter C. Alexander, on this day personally appeared before me and,

having presented a valid form of identification proved to me that lie is the person whose name is
subscribed to the foregoing instrument and acknowledged to me that he executed the same for

the purposes and consideration therein expressed

Given under my hand and seal of office this ,{.-§'.}. day of August 2018.

L »

Notary Public

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Exhibit 2

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This lunk-Science Appri)ach to Sexual Assault Cases
vVou|d lrample on Rights of the licensed

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amy Swearer is a visiting legal fellow at the l\/leese Center for Legal and Judicial Studles at
The Heritage Foundation.

A group of bipartisan congressman have introduced a bill in the House of Representatives
that Would award monetary grants to lavv enforcement and related agencies that use so-
called “trauma-informed investigation” for handling cases of sexual violence and stall<ing.

The money distributed under l,':~l:. t r"i§l.\ Would directly fund training programs that instruct
relevant personnel on a “trauma-informed” approach to crimes of sexual violence
informed by “the fundamentals ofthe neurobiology of trauma land thel impact of trauma

on victims.”

H.R. 4720 pursues the admirale goal of promotingjustice in the interests of victims
However, despite these good intentions it fails to achieve that goal and instead promotes a
scientifically unsound pseudo~science and a criminal justice theory completely at odds
With vvell-established concepts of procedural due process

Congress should reject this effort to fundamentally alter the role ofthe impartial police
investigator.

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Americans need an alternative to the mainstream media. But this can't be done

alone. E~`in<.l out r'rrere 1

What is a ‘trauma-informed’ investigation?

tirern‘ra\<ini"or rand in\_festi;§:iiiiv<:- g)r;;i¢_;ti<:e:-; are an offspring of the “Start by Believing”

campaign, launched in 2011 by End Violence Against Women |nternational as part of its
goal to “transform the Way \/ve respond to sexual assault.”

As the name suggests, the basic premise of the campaign is to dramatically reconstruct the
role of lavv enforcement officers, detectives, and other investigators ofsexual assault by
training them to focus on hovv the complainant could be telling the truth despite evidence
to the contrary.

Under this approach, investigators should no longer be neutral, third-party fact-gatherers,
but agents of the person alleging sexual assault. They should assume all complainants are
genuine victims and must find Ways of making even inconsistent_, inaccurate, and
exculpatory evidence support the complainant’s allegationsl

“Trauma-informed investigation'7 theory attempts to cloak “Start by Believing” With an air
of scientific credibility, instructing investigators and adjudicators of assault claims to
consider the “non:<>§:i<;zi§.r;;y et `§;i@:i,nn;r” and how it affects an alleged victim’s behaviors and

ability to recall information.

Proponents of this theory claim that trauma-such as being sexually assaulted-often
causes a disabling physiological response that severely inhibits victims’ memories of an
event, limits their cognizance of time frames, and results in actions otherwise-z considered

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in layman"s terrns, “traurna~inforrned” investigators are told to ignore standard red flags,
such as inconsistent accounts, counterintuitive behavioral responses, and even factually
vvrong statements, because these things are normal from trauma victims

in fact, because these are the exact type of responses expected of “real victims,” their
presence should be interpreted as evidence that the complainant experienced
psychological trauma and must be telling the truth.

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‘Trauma-lnf%??i?el miC/\és lga§:lon|y:| Scloenl?fircallzy and legally prob ematlc

There are two substantial problems with the use ofa “trauma-informed” approach to
riminal investigations

First, it is based on “junk science” with no grounding in reality. Second, its use necessarily
destroys very important due process safeguards effectively stacking the deck against any
person accused ofsexual assault and increasing the risk of erroneous convictions

lt is absolutely true that victims oftrauma will respond to the experience in a variety of
ways, some ofwhich may be out of step with how even the victim thought he or she would

rea ct.

lt is also true that people who experience the most severe cases oftrauma-such as those
who spend time in war zones-may have gaps in their memory of the events Such gaps
can also exist due to the presence of drugs or alcohol, which limit the brain’s ability to form
and retain memories

However, there is no scientific support for claims that victims of trauma store infallible, but
r`ragmented,” memories, as proponents of the neurobiology of trauma contend

in fact, many studies seem to indicate an opposite conclusion As Richard l\/|cl\|ally, a
Harvard psychology professor and expert on trauma and memory, notes in his book
“Rernembering Trauma,” extreme stress is known to often enhance the subsequent recall

of life-threatening incidents.

This is not to say that this enhanced recall will always be present, but it is certainly not
evidence tending to support a theory thatvictims oftrauma suffer from memory~recall

proble s as a general rule.

equally disturbing is the apparent lack of concern from proponents about the well»
documented malleability of memory, or the very real likelihood that corriplr;rinants can be
vulnerable to post~event suggestions that lead them to label consensual acts as rape.

from The Atlantic has noted, the neurobiology of trauma theory is eerily
.eminiscent ofthe “repressed rnemory” scare of the 19805 and 19905, which is now widely
regarded as “ psychiatric folklore devoid of convincing empirical support.”

The use of “trauma-informed investigation” in criminal cases also poses significant,

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perhaps eve(n@i$?elééh'éila‘bl§,l§drw¥lttftf)§llHietgfozbzlel:n|§.d isi/cl§fjtfre|:i)-um and
') Amendments, no person may be deprived of life, liberty, or property without due
process of law.

Procedural due process ensures that a defendant facing criminal charges receives
adequate and fair proceedings for the determination of his guilt or innocence Although
what constitutes “fairness” is relative and may depend on the circumstances ofthe
particular defendant (._>ie r vi ii':;i:;:;.ri:l ru:<.t)tt:;), there are certain safeguards that the
Supreme Court has determined are absolutely necessary to the provision of procedural

due process

The presence of an impartial investigator concerned with separating fact from fiction-_one
who does not take sides, but who gathers and analyzes evidence in a neutral light ----- is a
principle vitally important to the concept of fundamental fairness

Like the presumption of innocence and the use ofa reasonable-doubt standard, the use of
neutral investigators is a prime instrument in reducingthe risk ofconvictions based on

factual errors.

But this is, in fact, the very purpose of “trauma-informed” investigation |n the words of
Janet Halley, a professor at i-|arvard Law School, the intended effect of “trauma--informed”
investigation training is “lUO percent aimed to convince [training recipients] to believe
coniplainants, precisely when they seem unreliable and incoherent.”

One poignant illustration ofjust how devastating “traun'ra~informed” investigations can be
to due process is the case ofa male former student at the University ofOregon who is now
suing the school and several school officials after finally having his suspension for sexual

assault \

the r;tudent, known only ;.r:',' .iohrr Doe, rivas r_~rccuser.l or rape by a fernr'irle sti.rr|i_.~nt, wr'iosr-z
inconsistent~~z-ind sometin'r<-;\s blatantly false ~~testirnony was either ig:§nr;)red or, vvor'.'-'-;e,

wc~_iai,ioni;zed under the “neurobiology of trauma” theory z s proof that she was raped

`l`he stunning ways school investigators managed to ignore the overwhelming weight of the
evidence is detailed in ljohn Doe’s »v:\rn;:=l ,»zrz§, which was filed in federal district court

if(`_longress is truly worried about helping victims of sexual assault, it will not fund training
programs designed to obfuscate the due process rights of every person accused of this

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heinous crime.

Due process safeguards are not obstacles to be overcome or avoided They are, on the
ontrary, precious protections of liberty to be cherished in a free society that valuesjustice
and equality before the law.

Depriving defendants of due process rights does not makejustice easier to obtain, but
harder to obtain, because it taints convictions with the most conscience-damning burden
known to a just society; namely, doubt.

When the even-handed and fair nature ofa society’sjustice system sits in doubt, its
legitimacy as an institution sits equally in doubt.

This article has been corrected to reflect the political parties of the lawmakers introducing
the bill.

A Note fur our Readers:

Trust in the mainstream media is at a historic low-and rightfully so given the
behavior of many journalists in Washington, D.C.

Ever since Donald Trump was elected president, it is painfully clear that the
mainstream media covers liberals glowingly and conservatives critically.

l\lowjournalists spread false, negative rumors about President Trump before any
evidence is even prod uced.

Americans need an alternative to the mainstream media. That’s Why The Daiiy

%ignai exists

'ihe Daily Signal’s mission is to give Americans the real, urn/arnished truth about irl/hat
is happening in Washington and what must be done to save our country.

Our dedicated team of more than lOOjournalists and policy experts rely on the

financial support of patriots lil<e you.
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Exhibit 3

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September 201 7

Q&A gn gamgu§ S§§ua| Mlscongg§t

Under Title lX of the Education Amendments of 1972 and its implementing regulationsl an institution that
receives federal funds must ensure that no student suffers a deprivation of her or his access to educational
opportunities on the basis of sex. The Department of Education intends to engage in rulemaking on the topic of
schools' Title lX responsibilities concerning complaints of sexual misconductl including peer-on-peer sexual
harassment and sexual violence. The Department will solicit input from stakeholders and the public during that
rulemaking process. |n the interim, these questions and answers-along with the Rew'sed Sexual Harassment
Guidance previously issued by the Office for Civil Rights‘_provide information about how OCR will assess a
school's compliance with Title |X.

SCHOOLS’ RESPONS|BILITY TO ADDRESS SEXUAL MlSCONDUCT

QLstioalr

What is the nature of a school's responsibility to address sexual misconduct?

Answgr:

Whether or not a student files a complaint of alleged sexual misconduct or otherwise asks the school to take
action, where the school knows or reasonably should know of an incident of sexual misconduct, the school
must take steps to understand what occurred and to respond appropriate|y.2 ln particular, when sexual
misconduct is so severe. persistent. or pervasive as to deny or limit a students ability to participate in or benth
from the school`s programs or activities, a hostile environment exists and the school must respond.3

 

' Office for Civil Rights, Revised Sexual Harassment Guidance (66 Fed. Reg. 5512, Jan. 19, 2001), available al
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Rights, Dear Colleague Letter on S ual Harassment (Jan. 25, 2006), available al

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2 2001 Guidance at (VII).

3 Davis v. Monroe Cty. Bd. ofEduc., 526 U.S. 629, 631 (1999); 34 C.F.R. § 106.3l(a); 2001 Guidance at (V)(A)(l).
Title IX prohibits discrimination on the basis of sex “under any education program or activity” receiving federal
financial assistance, 20 U.S.C. § l681(a); 34 C.F.R. § 106.1, meaning within the “operations” of a postsecondary
institution or school district, 20 U.S.C. § 1687; 34 C.F.R. § 106.2(h). The Supreme Court has explained that the
statute “contines the scope of prohibited conduct based on the recipient’s degree of control over the harasser and the
environment in which the harassment occurs.” Davis, 526 U.S. at 644. Accordingly, OCR has informed institutions
that “[a] university does not have a duty under Title IX to address an incident of alleged harassment where the
incident occurs off-campus and does not involve a program or activity of the recipient.” Oklahoma State University
Determination Letter at 2, OCR Complaint No. 06-03-2054 (June 10, 2004); see also University of Wisconsin-
Madison Determination Letter, OCR Complaint No. 05-07-2074 (Aug. 6, 2009) (“OCR determined that the alleged
assault did not occur in the context of an educational program or activity operated by the University.”). Schools are
responsible for redressing a hostile environment that occurs on campus even if it relates to off-campus activities.
Under the Clery Act, postsecondary institutions are obliged to collect and report statistics on crimes that occur on
campus, on noncampus properties controlled by the institution or an affiliated student organization and used for
educational purposes, on public property within or immediately adjacent to campus, and in areas within the patrol
jurisdiction of the campus police or the campus security department. 34 C.F.R. § 668.46(a); 34 C.F.R. § 668.46(0).

 

 

 

 

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Each recipient must designate at least one employee to act as a Title lX Coordinator to coordinate its
responsibilities in this area.4 Other employees may be considered “responsible employees" and will help the
student to connect to the Title lX Coordinator.5

ln regulating the conduct of students and faculty to prevent or redress discrimination schools must formulatel
interpret and apply their rules in a manner that respects the legal rights of students and faculty. including those
court precedents interpreting the concept of free speech.6

THE CLERY ACT AND TlTLE lX

Qge§tiog 2:

What is the Clery Act and how does it relate to a school's obligations under Title IX?

Au§xm:

institutions of higher education that participate in the federal student financial aid programs are subject to the
requirements of the Clery Act as well as Title lX.7 Each year. institutions must disclose campus crime statistics
and information about campus security policies as a condition of participating in the federal student aid
programs The Violence Against Women Reauthorization Act of 2013 amended the Clery Act to require
institutions to compile statistics for incidents of dating violence. domestic violence, sexual assaultl and sta|king.
and to include certain policies. procedures, and programs pertaining to these incidents in the annual security
reports. ln October 2014, following a negotiated rulemaking processl the Department issued amended
regulations to implement these statutory changesa Accordingly, when addressing allegations of dating
violence. domestic violence. sexual assault, or stalkingl institutions are subject to the Clery Act regulations as
well as Title lX.

lNTER|M MEASURES

Question §:

What are interim measures and is a school required to provide such measures?

A swe:

interim measures are individualized services offered as appropriate to either or both the reporting and
responding parties involved in an alleged incident of sexual misconduct, prior to an investigation or while an
investigation is pending9 interim measures include counseling, extensions of time or other course-related
adjustments modifications of work or class schedules. campus escort services, restrictions on contact between
the parties. changes in work or housing locationsl leaves of absence, increased security and monitoring of
certain areas of campus, and other similar accommodations

 

‘ 34 C.F.R. § 106.8(a).

5 2001 Guidance at (v)(C).

6 Office for Civil Rights, Dear Colleague Letter on the First Amendment (.luly 28, 2003), available ar

i_-_=|:|,1 _ l_-, '.\_ t ._:_'Li'_ .|:':1||_\[ .ll||l -. '- l '.| iii_| ||. \i.l 5 .'|i-l l!|l]ll; 2001 Guidance at (XI).

1Jt:anne Clery Disclnsurc of`C.ampus Securily Policy and Campus Crime Statistics Act, Pub. L. No. 101-542, 20
u.s.C. § 1092rn.

" See 34 c.r.R. §ces.»ts.

"Se¢» 20ch Guidance at rvrr)(A).

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lt may be appropriate for a school to take interim measures during the investigation of a complaintl ‘° ln fairly
assessing the need for a party to receive interim measuresl a school may not rely on fixed rules or operating
assumptions that favor one party over another, nor may a school make such measures available only to one
party. lnterim measures should be individualized and appropriate based on the information gathered by the
Title lX Coordinator. making every effort to avoid depriving any student of her or his education The measures
needed by each student may change over time, and the Title lX Coordinator should communicate with each
student throughout the investigation to ensure that any interim measures are necessary and effective based on
the students‘ evolving needs.

GR|EVANCE FROCEDURES AND lNVEST|GATIONS

Qu§stion 4:

What are the school's obligations with regard to complaints of sexual misoonduct?

Answer:

A school must adopt and publish grievance procedures that provide for a prompt and equitable resolution of
complaints of sex discrimination. including sexual misconduct11 OCR has identified a number of elements in
evaluating whether a school's grievance procedures are prompt and equitable. including whether the school

(i) provides notice of the school's grievance procedures, including how to tile a complaint, to studentsl parents
of elementary and secondary school students, and employees; (ii) applies the grievance procedures to ‘
complaints filed by students or on their behalf alleging sexual misconduct carried out by employees, other
students, or third parties; (iii) ensures an adequatel reliab|e, and impartial investigation of complaints, including
the opportunity to present witnesses and other evidence; (iv) designates and follows a reasonably prompt time
frame for major stages of the complaint process; (v) notifies the parties of the outcome of the complaint; and
(vi) provides assurance that the school will take steps to prevent recurrence of sexual misconduct and to
remedy its discriminatory effects, as appropriate 12

Mf
What time frame constitutes a “prompt" investigation?

M !§We!f

There is no fixed time frame under which a school must complete a Title lX investigation13 OCR will evaluate a
school's good faith effort to conduct a fair. impartial investigation in a timely manner designed to provide all
parties with resolution

ion

What constitutes an "equitable” investigation?

 

w 2001 Guidance at (VIl)(A). ln cases covered by the Clery Act, a school must provide interim measures upon the
request of a reporting party if such measures are reasonably available. 34 C.F.R. § 668.46(b)(l l)(v).

" 34 C.F.R. § 106.8(b); 2001 Guidance at (V)(D); see also 34 C.F.R. § 668.46(k)(2)(i) (providing that a proceeding
which arises from an allegation of dating violence, domestic violence, sexual assault, or stalking must “[i]nelude a
prompt, fair, and impartial process ti'om the initial investigation to the final result").

n 2001 Guidance at (IX); see also 34 C.F.R. § 668.46(k). Postsecondary institutions are required to report publicly
the procedures for institutional disciplinary action in cases of alleged dating violence, domestic violence, sexual
assault, and stalking, 34 C.F.R. § 668.46 (k)(l)(i), and to include a process that allows for the extension of
timeframes for good cause with written notice to the parties of the delay and the reason for the delay, 34 C.F.R.

§ 668.46 (k)(3)(i)(A).

'3 2001 Guidance ar (Ix); see also 34 C.F.R. § 668.46(k)(3)(i)(A).

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Anwr:

ln every investigation conducted under the school's grievance procedures, the burden is on the school-not on
the parties-to gather sufficient evidence to reach a fair, impartial determination as to whether sexual
misconduct has occurred andl if so, whether a hostile environment has been created that must be redressed A
person free of actual or reasonably perceived conflicts of interest and biases for or against any party must lead
the investigation on behalf of the school. Schools should ensure that institutional interests do not interfere with
the impartiality of the investigation

An equitable investigation of a Title lX complaint requires a trained investigator to analyze and document the
available evidence to support reliable decisions, objectively evaluate the credibility of parties and witnesses.
synthesize all available evidence-including both inculpatory and exculpatory evidence-and take into account
the unique and complex circumstances of each case."

Any rights or opportunities that a school makes available to one party during the investigation should be made
available to the other party on equal terms.15 Restricting the ability of either party to discuss the investigation
(e.gll through "gag orders") is likely to deprive the parties of the ability to obtain and present evidence or
otherwise to defend their interests and therefore is likely inequitablel Training materials or investigative
techniques and approaches that apply sex stereotypes or generalizations may violate Title lX and should be
avoided so that the investigation proceeds objectively and impartially.16

Once it decides to open an investigation that may lead to disciplinary action against the responding party, a
school should provide written notice to the responding party of the allegations constituting a potential violation
of the school's sexual misconduct policyl including sufficient details and with sufiicient time to prepare a
response before any initial lnterview. Sufliclent details include the identities of the parties involvedl the specific
section of the code of conduct allegedly violatedl the precise conduct allegedly constituting the potential
violationl and the date and location of the alleged incident 17 Each party should receive written notice in
advance of any interview or hearing with sufficient time to prepare for meaningful participation The
investigation should result in a written report summarizing the relevant exculpatory and inculpatory evidence
The reporting and responding parties and appropriate oflicials must have timely and equal access to any
information that will be used during informal and formal disciplinary meetings and hearings.‘°

lNFORMAL RESOLUT|ONS OF COMPLA|NTS
Qi-|_Q§llQ.LZf

After a Title lX complaint has been opened for investigationl may a school facilitate an informal resolution of the
complaint?

M:

lf all parties voluntarily agree to participate in an informal resolution that does not involve a full investigation and
adjudication after receiving a full disclosure of the allegations and their options for formal resolution and if a
school determines that the particular Title lX complaint is appropriate for such a process, the school may
facilitate an informal `resolution. including mediation, to assist the parties in reaching a voluntary resolution.

 

'* 2001 Guidance ar rv)(m(l )“(2); see arm 34 C.F,it. § 658.46[1¢){2}0:).
‘5_ 200[ Guidance at (X].

'“ 34 c:.F.i_t.§ 1063 nut

" 2001 Guidance at {vil)(a).

'“ 34 c.i-'.n. § eris.‘irzri<}(siri)(m(:s}.

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DEC|S|ON-MAK|NG AS TO RESPONSlBlLlTY
QL¢§HQL&-'
What procedures should a school follow to adjudicate a finding of responsibility for sexual misconduct?

A! !SW§[§

The lnvestigator(s), or separate decision-maker(s), with or without a hearing, must make findings of fact and
conclusions as to whether the facts support a finding of responsibility for violation of the school's sexual
misconduct policy. lfthe complaint presented more than a single allegation of misconduct, a decision should be
reached separately as to each allegation of misconduct The indings of fact and conclusions should be
reached by applying either a preponderance of the evidence standard or a clear and convincing evidence
standard.1

The decision-maker(s) must offer each party the same meaningful access to any information that will be used
during informal and formal disciplinary meetings and hearings, including the investigation report.2° The parties
should have the opportunity to respond to the report in writing in advance of the decision of responsibility
and/or at a live hearing to decide responsibility

Any process made available to one party in the adjudication procedure should be made equally available to the
other party (for example, the right to have an attorney or other advisor present and/or participate in an interview
or hearing; the right to cross-examine parties and witnesses or to submit questions to be asked of parties and
witnesses).21 When resolving allegations of dating violence, domestic violence, sexual assau|t, or stalking, a
postsecondary institution must "[p]rovide the accuser and the accused with the same opportunities to have
others present during any institutional disciplinary proceeding, including the opportunity to be accompanied to
any related meeting or proceeding by the advisor of their choice."22 |n such disciplinary proceedings and any
related meetings, the institution may “[njot limit the choice of advisor or presence for either the accuser or the
aceused" but "may establish restrictions regarding the extent to which the advisor may participate in the

proceedings.”23

Schools are cautioned to avoid conflicts of interest and biases in the adjudicatory process and to prevent
institutional interests from interfering with the impartiality of the adjudication Decision-making techniques or
approaches that apply sex stereotypes or generalizations may violate Title |X and should be avoided so that
the adjudication proceeds objectively and impartially

 

'9 The standard of evidence for evaluating a claim of sexual misconduct should be consistent with the standard the
school applies in other student misconduct cases. in a recent decision, a court concluded that a school denied “basic
faimess" to a responding party by, among other things, applying a lower standard of evidence only in cases of
alleged sexual misconduct. Doe v. Brandeis Um`v., 177 F. Supp. 3d 561, 607 (D. Mass. 2016) (“[T]he lowering of
the standard appears to have been a deliberate choice by the university to make cases of sexual misconduct easier to
prove_and thus more difficult to defend, both for guilty and innocent students alike. It retained the higher standard
for virtually all other forms of student misconduct. The lower standard may thus be seen, in context, as part of an
effort to tilt the playing field against accused students, which is particularly troublesome in light of the elimination
of other basic rights of the accused.”). When a school applies special procedures in sexual misconduct cases, it
suggests a discriminatory purpose and should be avoided. A postsecondary institution’s annual security report must
describe the stande of evidence that will be used during any institutional disciplinary proceeding arising from an
allegation of dating violence, domestic violence, sexual assault, or stalking. 34 C.F.R. § 668.46(k)(l)(ii).

2° 34 c.F.R. § 668.46(k)(3)(i)(13)(3).

2' A school has discretion to reserve a right of appeal for the responding party based on its evaluation of due process
concems, as noted in Question ll.

" 34 C.F.R. § 668.46(k)(2)(iii).

23 34 c.F.R. § 668.46(k)(2)(iv).

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Queai_¢M:

How may a school offer the right to appeal the decision on responsibility and/or any disciplinary decision?

A_ns_m:

lf a school chooses to allow appeals from its decisions regarding responsibility and/or disciplinary sanctionsl
the school may choose to allow appeal (i) solely by the responding party'l or (ii) by both parties. in which case
any appeal procedures must be equally available to both parties30

EX|ST|NG RESOLUT|ON AGREEMENTS

Qy£LiMr

in light of the rescission of OCR's 2011 Dear Colleague Letter and 2014 Questions & Answers guidance. are
existing resolution agreements between OCR and schools still binding?

Answer:

¥es. Schools enter into voluntary resolution agreements with OCR to address the deficiencies and violations
identihed during an OCR investigation based on Title |X and its implementing regulations Existing resolution
agreements remain binding upon the schools that voluntarily entered into them. Such agreements are fact-
specitic and do not bind other schools. if a school has questions about an existing resolution agreement. the
school may contact the appropriate OCR regional office responsible for the monitoring of its agreement.

Note: The Department has determined that this Q&A is a signincant guidance document under the Final
Bulletin for Agency Good Guidance Practices of the Office of Management and Budget, 72 Fed. Reg. 3432
(Jan. 25, 2007). This document does not add requirements to applicable law. lf you have questions or are
interested in commenting on this document, please contact the Department of Education at ocr@ed.gov or
800-421-3481 (TDD: 800-877-8339).

 

m 2001 Guidance at (IX). Under the Clery Act. a postsecondary institution must provide simultaneous notification of
the appellate procedure il`one is availab|e, to both puriii:s. 34 (I.i~'.l{. § 668.46(k}(2){v}(B]. OCR has previously
informed schools that it is permissible to allow an appeal only for the responding party because “hclshe is the one
who stands to suffer i`:'om any penalty imposed and should not be made to be tried twice i`or the same allegation.”
Skidmore College Determination Letter at 5, OCR Complaint No. 02-95-2136 (Feb. 12, 1996); see also Suffolk
University Law School Determination Letter at ll, OCR Complaint No. 01-05-2074 (Sept. 30, 2008) (“[A]ppeal
rights are not necessarily required by Title IX, whereas an accused student’s appeal rights are a standard component
of University disciplinary processes in order to assure that the student is afforded due process before being removed
from or otherwise disciplined by the University.”); University of Cincinnati Determination Letter at 6, OCR
Complaint No. 15-05-2041 (Apr. 13, 2006) (“[T]here is no requirement under Title IX that a recipient provide a
victim’s right of appeal.“).

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Exhibit 4

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EEoc'Form1s1(11/1e) U.S. EQUAL EMPLOYMENT OPPORl uNll Y buMMlSSlON

 

DlSMlSSAL AND NOT|CE OF RlGHTS

 

TO= Reginald L. Robinson FrOm= Washlngton Field Office
1904 Autumn Ridge Circle 131 M Street, N.E.
Silver Spring, MD 20906 Suite 4NW02F

Washlngton, DC 20507

 

|:] On behalf of person(s) aggrieved whose identity is
CONFIDENT/AL (29 CFR §1601,7(3))
EEOC Charge No. EEOC Representatlve Telephone No.

Monica R. Colunga,
570-2018-00222 Enforcement Supervlsor (202) 41 9-0711

THE EEOC lS CLOSING lTS FILE ON TH|S CHARGE FOR THE FOLLOW|NG REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did not involve a disability as defined by the Americans With Disabilities Act.
The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
discrimination to tile your charge

IUUUU

The EEOC issues the following detennination: Based upon its investigation, the EEOC is unable to conclude that the
information obtained establishes violations of the statutes This does not certify that the respondent is in compliance with
the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

Ul]

Other (briefly state)

- NOT|CE OF SU|T RlGHTS -

(See the additional information attached to this form.)

Title Vll, the Americans with Disabilities Actl the Genetic information Nondiscrimination Act, or the Age
Discrirnination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed W|TH|N 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
|ost. (The time limit for filing suit based on a ciaim under state law may be different.)

Equa| Pay Act (EPA): `EPA suits must be filed in federal or state court Within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.

 

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Enclosures(s)

‘ indy E.'Weinsteir[] ` (Dare Mai/ed)
(<C Acting Director

CCZ
Adonna Bannister

Manager Of thigation
HOWARD UNlVERS|TY
2400 6th St, N.W.

Suite 321

Washington. DC 20059

Enclosu,e w,,hEEOQase 1:18-cv-00518-TNl\/l Document 26 Filed 09/13/18 Page 82 of 82
Fc.m 161 (11/15) .
|NFoRMATioN RELATED To FlLiNG SuiT

- UNDER THE LAws ENFoRch BY THE EEOC

(T s information relates to filing suit In Federal or State court under Federal law.
lf you also plan to sue claiming violations of State law, please be aware that time limits and other
provisions of State law may be shorter or more limited than those described below.)

Title V|l of the Civil Rights Act, the Americans with Disabilities Act (ADA),
the Genetic information Nondiscrimination Act (GlNA), or the Age
Discrimination in Emp|oyment Act (ADEA):

PRrvATE SulT RlGHTS --

ln order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. if you intend to
consult an attorney, you should do so promptiy. Give your attorney a copy of this Notice, and its envelope, and tell
him or her the date you received it. Furthermore, in order to avoid any question that you did not act in a timely
manner, it is prudent that your suit be filed within 90 days of the date this Notice was mailed to you (as
indicated where the Notice is signed) or the date of the postmark, if later.

Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a "complaint" that contains a short
statement of the facts of your case which shows that you are entitled to reiief. Courts often require that a copy of
your charge must be attached to the complaint you file in court. if so, you should remove your birth date from the
charge. Some courts will not accept your complaint where the charge includes a date of birth. Your suit may include
any matter alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters
alleged in the charge. Generai|y, suits are brought in the State where the alleged unlawful practice occurred, but in
some cases can be brought where relevant employment records are kept, where the employment would have
been, or where the respondent has its main office. if you have simple questions, you usually can get answers from
the office of the clerk of the court where you are bringing suitl but do not expect that office to write your complaint
or make legal strategy decisions for you.

PRlvATE SU|T RlGHTS -- Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment back
pay due for violations that occurred more than 2 years (3 yearsl before you file suit may not be coilectlble. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
before 7/1/10 - not 12/1/10 -- in order to recover unpaid wages due for Ju|y 2008. This time limit for filing an EPA
suit is separate from the 90-day filing period under Title Vll, the ADA, GiNA or the ADEA referred to above.
Therefore, if you also plan to sue under Title Vl|l the ADA, G|NA or the ADEA, in addition to suing on the EPA
claim, suit must be filed Within 90 days of this Notice Li_ within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTAT|ON -- Title Vll, the ADA or GlNA:

if you cannot afford or have been unable to obtain a lawyer to represent youl the U.S. District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made Wei| before the end of the 90-day period mentioned above,
because such requests do n_ot relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASS|STANCE -- All Statl|te$:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. if you need to
inspect or obtain a copy of information in EEOC‘s file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, ali charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 90 days.)

IF YOU FILE SU/T, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFF/CE.

